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                          UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                 WACO DIVISION


 Ocean Semiconductor LLC,
                                                       Civil Action No.: 6:20-cv-1210
                        Plaintiff
                                                        JURY TRIAL DEMANDED
   v.
                                                        PATENT CASE
 MediaTek Inc. and MediaTek USA Inc.
 (“MediaTek”),

                        Defendant.




                      COMPLAINT FOR PATENT INFRINGEMENT

        Plaintiff Ocean Semiconductor LLC (“Ocean Semiconductor” or “Plaintiff”) files this

Complaint against MediaTek Inc. and MediaTek USA Inc. (“MediaTek USA”) (collectively

“MediaTek” or “Defendant”), seeking damages and other relief for patent infringement, and

alleges with knowledge to its own acts, and on information and belief as to other matters, as

follows:

                                    NATURE OF THE ACTION

        1.     This is an action for patent infringement arising under the Patent Laws of the

United States, 35 U.S.C. § 1 et seq.

                                         THE PARTIES

        2.     Plaintiff Ocean Semiconductor is a limited liability company organized and

existing under the laws of the State of Delaware, with its principal place of business at 717 N.

Union Street, Wilmington, DE 19805.
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       3.      On information and belief, Defendant MediaTek Inc. is a corporation organized

under the law of Taiwan, with its principal place of business at No. 1, Dusing 1st Road, Hsinchu

Science Park, Hsinchu, 20078, Taiwan.

       4.      On information and belief, Defendant MediaTek USA, Inc. is a Delaware

corporation with a principal place of business at 5914 West Courtyard Drive, Austin, Texas

78730. On information and belief, MediaTek USA may be served through its registered agent,

CT Corporation System, at 1999 Bryan Street, Suite 900, Dallas, Texas 75201.

       5.      Plaintiff Ocean Semiconductor is the assignee and owner of the patents at issue in

this action: U.S. Patents Nos. 6,660,651, 6,907,305, 6,725,402, 6,968,248, 7,080,330, 6,836,691,

and 8,676,538 (collectively, the “Asserted Patents”). Ocean Semiconductor holds all substantial

rights, title, and interest in the Asserted Patents, including the exclusive right to sue MediaTek

for infringement and recover damages, including damages for past infringement.

       6.      Plaintiff Ocean Semiconductor seeks monetary damages and prejudgment interest

for Defendant’s past and ongoing direct and indirect infringement of the Asserted Patents.

       7.      Each Defendant, MediaTek Inc. and MediaTek USA, Inc. (“MediaTek”), is a

semiconductor company that designs, develops, sells, offers to sell, and imports into the United

States semiconductor products in the mobile devices, tablet products, internet of things devices,

automotive devices, networking and broadband devices, and home devices industry (“Accused

Products”).

       8.      Defendant MediaTek, which has its own design centers in the United States

(including a facility in Austin, Texas), contracts with third-party semiconductor fabricators or

foundries (“MediaTek Foundry Partners”) that own, operate, or control semiconductor

fabrication plants (“fabs”) within and/or outside of the United States (“International Facilities”)



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to produce the Accused Products. One such MediaTek Foundry Partner is United

Microelectronics Corp. (“UMC”). See, e.g., “Taiwan’s UMC to scale down chip project with

Chinese partner,” available at https://asia.nikkei.com/Economy/Trade-war/Exclusive-Taiwan-s-

UMC-to-scale-down-chip-project-with-Chinese-partner (last accessed October 12, 2020).

Another MediaTek Foundry Partner is Taiwan Semiconductor Manufacturing Company Ltd.

(“TSMC”). See “Better Chipset Fabrication = Better Performance and Efficiency,” available at

https://www.mediatek.com/innovations/fabrication-process-technology (last accessed October

12, 2020). Both UMC and TSMC have a contractual partnership with MediaTek to design,

develop, or manufacture semiconductor products including integrated circuits for MediaTek.

       9.     On information and belief, Defendant MediaTek (directly or through one or more

of its Foundry Partners such as UMC and TSMC) has a contractual relationship with Applied

Materials, Inc. (“Applied Materials”) (see, e.g., UMC’s YY Chen video, available at

https://www.appliedmaterials.com/automation-software (last accessed October 12, 2020); see

also Applied Materials’ job posting for “TSMC F15 E3 project,” available at

http://www.mse.ntu.edu.tw/attachments/article/154/AMT_Summer%20Student%20Program_Job

%20Post_2013.pdf (last accessed October 12, 2020); see also “MediaTek to transfer 28nm chip

orders to UMC,” available at https://www.digitimes.com/news/a20170724PD214.html (last

visited Oct. 12, 2020); see also “BRIEF-UMC orders machinery equipment from Applied

Materials' unit,” available at https://www.reuters.com/article/brief-umc-orders-machinery-

equipment-fro/brief-umc-orders-machinery-equipment-from-applied-materials-unit-

idUKH9N1M601Z (last visited Oct. 12, 2020); see also “BRIEF-TSMC Orders Machinery

Equipment Worth T$1.06 Billion From Applied Materials,” available at

https://www.reuters.com/article/brief-tsmc-orders-machinery-equipment-wo/brief-tsmc-orders-



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machinery-equipment-worth-t1-06-billion-from-applied-materials-idUSS7N1QP04B (last visited

Oct. 12, 2020)), and PDF Solutions Inc. (“PDF Solutions”) (e.g., “Taiwan Semiconductor

Manufacturing Company adopts PDF Solutions yield improvement technology,” available at

https://www.edn.com/taiwan-semiconductor-manufacturing-company-adopts-pdf-solutions-

yield-improvement-technology/ (last accessed Oct. 12, 2020); see also “Exensio: Big Data in the

Fab,” available at https://semiwiki.com/eda/4351-exensio-big-data-in-the-fab/ (last accessed

Oct. 12, 2020), and one or more of the MediaTek Foundry Partners (e.g., UMC and/or TSMC)

employ Applied Materials’ semiconductor fabrication or manufacturing equipment, platforms,

and/or framework, including Applied Materials’ E3 system, including the E3 factory

advanced/automation process control (“APC”) platform hardware and/or software (collectively,

“E3 system”), PDF Solutions’ Exensio hardware and/or software (collectively, “Exensio

system”), and/or other advanced/automation process control system and platform hardware

and/or software to design, develop, and/or manufacture Defendant MediaTek’s semiconductor

devices, including integrated circuits.

       10.     Upon information and belief, UMC and/or TSMC employ Applied Materials’

and/or PDF Solutions’ semiconductor fabrication or manufacturing equipment, platforms, and/or

framework (e.g., Applied Materials’ E3 system and/or PDF Solutions’ Exensio system) at their

manufacturing facilities. Applied Materials has received supplier awards and recognition from

UMC. See, e.g., https://www.appliedmaterials.com/files/nanochip-

journals/nanochip_v7_iss2_112912.pdf (last accessed October 12, 2020); see also

https://www.appliedmaterials.com/nanochip/nanochip-technology-journal/july-2014 (last visited

October 12, 2020); see also https://www.appliedmaterials.com/files/nanochip-journals/nanochip-

fab-solutions-12-2014-revised.pdf (last accessed October 12, 2020). Applied Materials also has



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received supplier awards and recognition from TSMC. See, e.g., “TSMC Recognizes

Outstanding Suppliers at Supply Chain Management Forum,” available at

https://pr.tsmc.com/english/news/1873 (last accessed October 12, 2020). On information and

belief, TSMC also employs PDF Solutions’ Exensio system at TSMC’s manufacturing facilities.

       11.     On information and belief, Defendant MediaTek (directly or through its

MediaTek Foundry Partners such as UMC and/or TSMC) employs Applied Materials’ E3 system

and/or PDF Solutions’ Exensio system to design, develop or manufacture one or more systems,

products, devices, and integrated circuits for importation into the United States for use, sale,

and/or offer for sale in this District and throughout the United States, including, but not limited

to, mobile devices (e.g., Helio G, Helio A, Helio P, Helio X, mid-range 4G devices, and Google

Mobile Services express devices), tablet products (e.g., MiraVision), internet of things devices

(e.g., i500, i350, i300A, i300B, MT3620, MT2625, MT2621, MT2601, MT2523G, MT2523D,

MT2511, MT6280, MT2502, MT5931, MT3332, MT 2503, MT3333, MT3303, MT3337, and

MT3339), automotive devices (e.g., Autus I20 (MT2712) devices, Autus R10 (MT2706) devices,

and Autus T10 (MT2635) devices), networking and broadband devices (e.g., MediaTek T750

MT7688A, MT7628K/N/A, MT7623N/A, MT7622, MT7621A/N, MT7620N/A, RT3662,

RT3883, MT7688K, MT5932, MT8167S, MT7686, MT7682, MT7697H/HD, MT7681,

MT7687F, MT7697, MT7697D, MT7601E, MT7601U, MT7603E, MT7603U, MT7610E,

MT7610U, MT7612E, MT7612U, MT7615, MT7615B, MT7615S, MT7662E, MT7662U,

MT7668, RT3062, RT3070, RT3562, RT3573, RT3593, RT5370, RT5572, RT5592, MT3729,

MT7601, MT7610, MT7630, RT5372, RT539x, RT8070, RT2870, RT2890, RT309x, RT3290,

RT3370, RT3572, RT2070, RT2760, RT2770, RT2790, and RT2860), and home devices (e.g.,

MT8516 SoM, MT8516, MT8507, MT8502, MediaTek C4X Development Kit for Amazon



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AVS, MT8516 2-Mic Development Kit for Amazon AVS, MT8516, MT8693, MT8685,

MT8581, MT8580, MT8563, MT8553, MT1389/G, MT1389/J, MT1389/Q, S900 (MT9950),

MT9613, MT9685, MT9602, MT5592, MT5582, MT5596, MT5597, MT5580, MT5561,

MT5505, MT5398, MT5396, MT1959, MT1887, MT1865, MT1862, and MT1398), and similar

systems, products, devices, and integrated circuits including, for example, products

manufactured at 16nm technology node (“MediaTek APC Products”).

       12.     On information and belief, Defendant MediaTek (directly or through its

MediaTek Foundry Partners such as UMC and/or TSMC) uses Applied Materials’ E3 system

and/or PDF Solutions’ Exensio system to design, develop, or manufacture the MediaTek APC

Products for importation into the United States for use, sale, and/or offer for sale in this district

and throughout the United States.

       13.     On information and belief, Defendant MediaTek, directly and/or through one or

more of the MediaTek Foundry Partners (e.g., UMC), also employs Applied Materials’

SmartFactory system or platform, including Advanced Productivity Family solutions and Smart

Scheduling (collectively, “SmartFactory”) and/or other similar proprietary or third-party

scheduling and dispatching platform hardware and/or software (e.g., with similar technical and

functional features) to design, develop, and/or manufacture Defendant MediaTek’s

semiconductor devices, including integrated circuits. See, e.g., “UMC Shares Success With The

Applied SmartFactory®,” available at https://www.appliedmaterials.com/files/umc-china_0.mp4

(last accessed Oct. 12, 2020).

       14.     Upon information and belief, Defendant MediaTek (directly or through its

MediaTek Foundry Partners such as UMC) employs Applied Materials’ scheduling and




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dispatching platform (e.g., Applied Materials’ SmartFactory including SmartSched) at UMC’s

manufacturing facilities.

       15.     On information and belief, Defendant MediaTek (directly or through its

MediaTek Foundry Partners such as UMC) employs Applied Materials’ SmartFactory and/or

other similar proprietary or third-party scheduling and dispatching platform hardware and/or

software (e.g., with similar technical and functional features) to design, develop or manufacture

one or more systems, products, devices, and integrated circuits for importation into the United

States for use, sale, and/or offer for sale in this District and throughout the United States,

including, but not limited to, mobile devices (e.g., Helio G, Helio A, Helio P, Helio X, mid-range

4G devices, and Google Mobile Services express devices), tablet products (e.g., MiraVision),

internet of things devices (e.g., i500, i350, i300A, i300B, MT3620, MT2625, MT2621, MT2601,

MT2523G, MT2523D, MT2511, MT6280, MT2502, MT5931, MT3332, MT 2503, MT3333,

MT3303, MT3337, and MT3339), automotive devices (e.g., Autus I20 (MT2712) devices, Autus

R10 (MT2706) devices, and Autus T10 (MT2635) devices), networking and broadband devices

(e.g., MediaTek T750 MT7688A, MT7628K/N/A, MT7623N/A, MT7622, MT7621A/N,

MT7620N/A, RT3662, RT3883, MT7688K, MT5932, MT8167S, MT7686, MT7682,

MT7697H/HD, MT7681, MT7687F, MT7697, MT7697D, MT7601E, MT7601U, MT7603E,

MT7603U, MT7610E, MT7610U, MT7612E, MT7612U, MT7615, MT7615B, MT7615S,

MT7662E, MT7662U, MT7668, RT3062, RT3070, RT3562, RT3573, RT3593, RT5370,

RT5572, RT5592, MT3729, MT7601, MT7610, MT7630, RT5372, RT539x, RT8070, RT2870,

RT2890, RT309x, RT3290, RT3370, RT3572, RT2070, RT2760, RT2770, RT2790, and

RT2860), and home devices (e.g., MT8516 SoM, MT8516, MT8507, MT8502, MediaTek C4X

Development Kit for Amazon AVS, MT8516 2-Mic Development Kit for Amazon AVS,



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MT8516, MT8693, MT8685, MT8581, MT8580, MT8563, MT8553, MT1389/G, MT1389/J,

MT1389/Q, S900 (MT9950), MT9613, MT9685, MT9602, MT5592, MT5582, MT5596,

MT5597, MT5580, MT5561, MT5505, MT5398, MT5396, MT1959, MT1887, MT1865,

MT1862, and MT1398), flash memory and memory controllers (e.g., MT81XX SPI), and WiFi

extenders (MTK7621A) and similar systems, products, devices, and integrated circuits

(“MediaTek Scheduling Products”).

       16.     On information and belief, Defendant MediaTek (directly or through its

MediaTek Foundry Partners such as UMC) uses Applied Materials’ SmartFactory and/or other

similar proprietary or third-party scheduling and dispatching platform hardware and/or software

(e.g., with similar technical and functional features) to design, develop, or manufacture the

MediaTek Scheduling Products for importation into the United States for use, sale, and/or offer

for sale in this district and throughout the United States.

       17.     On information and belief, Defendant MediaTek (directly and/or through its

MediaTek Foundry Partners such as UMC and/or TMC) has a contractual relationship with

ASML Holding N.V. and/or its subsidiaries (“ASML”) (see, e.g., LinkedIn Profile for Spencer

Lin, Operation Manager at ASML, available at https://www.linkedin.com/in/spencer-lin-

a48a0082/ (last visited Oct. 12, 2020); LinkedIn Profile for Leo Li, Product Engineer at ASML,

available at https://www.linkedin.com/in/leo-li-74222754/ (last visited Oct. 12, 2020); LinkedIn

Profile for Tsung Ming C., Applicant Engineer at ASML, available at

https://www.linkedin.com/in/tsung-ming-c-49b4b77/ (last visited Oct. 12, 2020); LinkedIn

Profile for Vince Liu, Product Manager at ASML, available at

https://www.linkedin.com/in/vince-liu-4820b149/ (last visited Oct. 12, 2020); and LinkedIn

Profile for Henry Yeh, Applicant Engineer at ASML, available at



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https://www.linkedin.com/in/heavyyeh/ (last visited Oct. 12, 2020)), and that one or more of the

MediaTek Foundry Partners (e.g., UMC and/or) employ ASML’s semiconductor fabrication or

manufacturing equipment and/or platforms (e.g., ASML’s TWINSCAN system hardware and

software or “TWINSCAN”) to design, develop, and/or manufacture Defendant MediaTek’s

semiconductor products and devices, such as mobile devices (e.g., Helio G, Helio A, Helio P,

Helio X, mid-range 4G devices, and Google Mobile Services express devices), tablet products

(e.g., MiraVision), internet of things devices (e.g., i500, i350, i300A, i300B, MT3620, MT2625,

MT2621, MT2601, MT2523G, MT2523D, MT2511, MT6280, MT2502, MT5931, MT3332, MT

2503, MT3333, MT3303, MT3337, and MT3339), automotive devices (e.g., Autus I20

(MT2712) devices, Autus R10 (MT2706) devices, and Autus T10 (MT2635) devices),

networking and broadband devices (e.g., MediaTek T750 MT7688A, MT7628K/N/A,

MT7623N/A, MT7622, MT7621A/N, MT7620N/A, RT3662, RT3883, MT7688K, MT5932,

MT8167S, MT7686, MT7682, MT7697H/HD, MT7681, MT7687F, MT7697, MT7697D,

MT7601E, MT7601U, MT7603E, MT7603U, MT7610E, MT7610U, MT7612E, MT7612U,

MT7615, MT7615B, MT7615S, MT7662E, MT7662U, MT7668, RT3062, RT3070, RT3562,

RT3573, RT3593, RT5370, RT5572, RT5592, MT3729, MT7601, MT7610, MT7630, RT5372,

RT539x, RT8070, RT2870, RT2890, RT309x, RT3290, RT3370, RT3572, RT2070, RT2760,

RT2770, RT2790, and RT2860), and home devices (e.g., MT8516 SoM, MT8516, MT8507,

MT8502, MediaTek C4X Development Kit for Amazon AVS, MT8516 2-Mic Development Kit

for Amazon AVS, MT8516, MT8693, MT8685, MT8581, MT8580, MT8563, MT8553,

MT1389/G, MT1389/J, MT1389/Q, S900 (MT9950), MT9613, MT9685, MT9602, MT5592,

MT5582, MT5596, MT5597, MT5580, MT5561, MT5505, MT5398, MT5396, MT1959,

MT1887, MT1865, MT1862, and MT1398), flash memory and memory controllers (e.g.,



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MT81XX SPI), and WiFi extenders (MTK7621A) and similar systems, products, devices, and

integrated circuits (“MediaTek TWINSCAN Products”). See, e.g., “BRIEF-Taiwan’s UMC

orders equipment from ASML for T$657 mln,” available at

https://www.reuters.com/article/umc-corp-asml-holding-brief/brief-taiwans-umc-orders-

equipment-from-asml-for-t657-mln-idUSS7N0P700I20140728 (last accessed October 12, 2020);

see also “UMC buys equipment from ASML,” available at

https://www.digitimes.com/news/a20160621PM200.html (last accessed October 12, 2020); see

also “ASML apparently beats Nikon for UMC’s huge 300-mm scanner order,” available at

https://www.eetimes.com/asml-apparently-beats-nikon-for-umcs-huge-300-mm-scanner-order/

(last accessed October 12, 2020); see also “ASML shares gain after reports of large TSMC

order,” available at https://seekingalpha.com/news/3636158-asml-shares-gain-after-reports-of-

large-tsmc-order (last visited Oct. 12, 2020); see also “ASML’s NXE Platform Performance,”

available at http://euvlsymposium.lbl.gov/pdf/2013/pres/RudyPeeters.pdf (last visited Oct. 12,

2020).

         18.     On information and belief, Defendant MediaTek (directly or through its

MediaTek Foundry Partners such as UMC and/or TSMC) uses ASML’s TWINSCAN platform

and/or its software to design, develop, or manufacture the MediaTek TWINSCAN Products for

importation into the United States for use, sale, and/or offer for sale in this district and

throughout the United States.

         19.     On information and belief, Defendant MediaTek (directly and/or through its

MediaTek Foundry Partners) has a contractual relationship with ASML and/or its subsidiaries

(see, e.g., LinkedIn Profile for Spencer Lin, Operation Manager at ASML, available at

https://www.linkedin.com/in/spencer-lin-a48a0082/ (last visited Oct. 12, 2020); LinkedIn Profile



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for Leo Li, Product Engineer at ASML, available at https://www.linkedin.com/in/leo-li-

74222754/ (last visited Oct. 12, 2020); LinkedIn Profile for Tsung Ming C., Applicant Engineer

at ASML, available at https://www.linkedin.com/in/tsung-ming-c-49b4b77/ (last visited Oct. 12,

2020); LinkedIn Profile for Vince Liu, Product Manager at ASML, available at

https://www.linkedin.com/in/vince-liu-4820b149/ (last visited Oct. 12, 2020); and LinkedIn

Profile for Henry Yeh, Applicant Engineer at ASML, available at

https://www.linkedin.com/in/heavyyeh/ (last visited Oct. 12, 2020)), and that one or more of the

MediaTek Foundry Partners employ ASML’s semiconductor fabrication or manufacturing

equipment and/or platforms (e.g., ASML’s YieldStar metrology and inspection system hardware

and software) to design, develop, and/or manufacture Defendant MediaTek’s semiconductor

products and devices, such as mobile devices (e.g., Helio G, Helio A, Helio P, Helio X, mid-

range 4G devices, and Google Mobile Services express devices), tablet products (e.g.,

MiraVision), internet of things devices (e.g., i500, i350, i300A, i300B, MT3620, MT2625,

MT2621, MT2601, MT2523G, MT2523D, MT2511, MT6280, MT2502, MT5931, MT3332, MT

2503, MT3333, MT3303, MT3337, and MT3339), automotive devices (e.g., Autus I20

(MT2712) devices, Autus R10 (MT2706) devices, and Autus T10 (MT2635) devices),

networking and broadband devices (e.g., MediaTek T750 MT7688A, MT7628K/N/A,

MT7623N/A, MT7622, MT7621A/N, MT7620N/A, RT3662, RT3883, MT7688K, MT5932,

MT8167S, MT7686, MT7682, MT7697H/HD, MT7681, MT7687F, MT7697, MT7697D,

MT7601E, MT7601U, MT7603E, MT7603U, MT7610E, MT7610U, MT7612E, MT7612U,

MT7615, MT7615B, MT7615S, MT7662E, MT7662U, MT7668, RT3062, RT3070, RT3562,

RT3573, RT3593, RT5370, RT5572, RT5592, MT3729, MT7601, MT7610, MT7630, RT5372,

RT539x, RT8070, RT2870, RT2890, RT309x, RT3290, RT3370, RT3572, RT2070, RT2760,



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RT2770, RT2790, and RT2860), and home devices (e.g., MT8516 SoM, MT8516, MT8507,

MT8502, MediaTek C4X Development Kit for Amazon AVS, MT8516 2-Mic Development Kit

for Amazon AVS, MT8516, MT8693, MT8685, MT8581, MT8580, MT8563, MT8553,

MT1389/G, MT1389/J, MT1389/Q, S900 (MT9950), MT9613, MT9685, MT9602, MT5592,

MT5582, MT5596, MT5597, MT5580, MT5561, MT5505, MT5398, MT5396, MT1959,

MT1887, MT1865, MT1862, and MT1398), and similar systems, products, devices, and

integrated circuits (“MediaTek YieldStar Products”). See, e.g., “BRIEF-Taiwan’s UMC orders

equipment from ASML for T$657 mln,” available at https://www.reuters.com/article/umc-corp-

asml-holding-brief/brief-taiwans-umc-orders-equipment-from-asml-for-t657-mln-

idUSS7N0P700I20140728 (last accessed October 12, 2020); see also “UMC buys equipment

from ASML,” available at https://www.digitimes.com/news/a20160621PM200.html (last

accessed October 12, 2020); see also “ASML apparently beats Nikon for UMC’s huge 300-mm

scanner order,” available at https://www.eetimes.com/asml-apparently-beats-nikon-for-umcs-

huge-300-mm-scanner-order/ (last accessed October 12, 2020); see also “ASML shares gain

after reports of large TSMC order,” available at https://seekingalpha.com/news/3636158-asml-

shares-gain-after-reports-of-large-tsmc-order (last visited Oct. 12, 2020); see also “ASML’s

NXE Platform Performance,” available at

http://euvlsymposium.lbl.gov/pdf/2013/pres/RudyPeeters.pdf (last visited Oct. 12, 2020).

       20.     On information and belief, Defendant MediaTek (directly or through its

MediaTek Foundry Partners) uses ASML’s YieldStar platform and/or its software to design,

develop, or manufacture the MediaTek YieldStar Products for importation into the United States

for use, sale, and/or offer for sale in this district and throughout the United States.




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       21.     Defendant MediaTek works with third parties to design and/or develop third party

products, such as mobile devices, tablet products, internet of things devices, automotive devices,

networking and broadband devices, and home devices that include one or more MediaTek APC

Products, MediaTek Scheduling Products, MediaTek TWINSCAN Products, and/or MediaTek

YieldStar Products (“Third Party Products”). MediaTek assists third parties, directly or through

others, to import the Third Party Products into the United States and offer to sell, and sell, such

Third Party Products in the United States.

                                 JURISDICTION AND VENUE

       22.     This is an action for patent infringement arising under the patent laws of the

United States, 35 U.S.C. § 1, et seq.

       23.     This Court has subject matter jurisdiction under 28 U.S.C. §§ 1331 and 1338(a).

       24.     Defendant MediaTek is subject to this Court’s general personal jurisdiction at

least because MediaTek is a resident of Texas and in this District as defined by Texas law.

       25.     Defendant MediaTek is subject to this Court’s general and specific personal

jurisdiction because MediaTek has sufficient minimum contacts within the State of Texas and

this District, pursuant to due process and/or the Texas Long Arm Statute, Tex. Civ. Prac. & Rem.

Code § 17.042. On information and belief, MediaTek contracted with one or more Texas

residents in this District and one or both parties performed the contract at least in part in the State

of Texas and this District; MediaTek committed the tort of patent infringement in State of Texas

and this District; MediaTek purposefully availed itself of the privileges of conducting business in

the State of Texas and in this District; MediaTek regularly conducts and solicits business within

the State of Texas and within this District; MediaTek recruits residents of the State of Texas and

this District for employment inside or outside the State of Texas; Plaintiff’s causes of action arise



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directly from MediaTek’s business contacts and other activities in the State of Texas and this

District; and MediaTek designs, develops, manufactures, distributes, makes available, imports,

sells and offers to sell products and services throughout the United States, including in this

judicial District, and introduces infringing products and services that into the stream of

commerce knowing that they would be used and sold in this judicial district and elsewhere in the

United States.

         26.     Venue is proper in this judicial district under 28 U.S.C. § 1391 and 28 U.S.C. §

1400(b) at least because Defendant MediaTek Inc. is a foreign corporation and is subject to

personal jurisdiction in this District and/or has regularly conducted business in this District, and

because certain of the acts complained of herein occurred in this District. Venue is also proper

for Defendant MediaTek USA at least because MediaTek USA has a regular and established

place of business in this District, including at least at 5914 West Courtyard Drive, Austin, Texas

78730.

         27.     Additionally, Defendant MediaTek—directly or through intermediaries (including

distributors, retailers, and others), subsidiaries, alter egos, and/or agents—ships, distributes,

offers for sale, and/or sells their products in the United States and this District. MediaTek has

purposefully and voluntarily placed one or more of its products into the stream of commerce that

infringe the Asserted Patents with the awareness and/or intent that they will be purchased by

consumers and businesses in this District. Defendant MediaTek knowingly and purposefully

ships infringing products into, and within, this District through an established distribution

channel. These infringing products have been, and continue to be, purchased by consumers and

businesses in this District.

                                     THE PATENTS-IN-SUIT



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       28.     On November 8, 2001, U.S. Patent Application No. 10/010,463 was filed at the

USPTO (“the ’463 Application”). The ’463 Application was duly examined and issued as U.S.

Patent No. 6,660,651 (“the ’651 patent”), entitled “Adjustable Wafer Stage, and a Method and

System for Performing Process Operations Using Same” on December 9, 2003. A true and

correct copy of the ʼ651 patent is attached hereto as Exhibit A.

       29.     Ocean Semiconductor is the owner of the ʼ651 patent and has the full and

exclusive right to bring actions and recover past, present, and future damages for Defendant

MediaTek’s infringement of the ʼ651 patent.

       30.     The inventions of the ’651 patent resolve technical problems related to cross-

wafer variations or non-uniformity characteristics in semiconductor wafers that are caused by

different deposition and etch processes performed during semiconductor manufacturing. For

example, the ’651 patent provides a process tool that includes an adjustable wafer stage that

allows positioning or re-positioning of the wafer stage, such as raising, lowering, and varying a

tilt of the surface of the wafer stage, in order to effectuate the deposition rates of semiconductor

materials formed on a wafer.

       31.     The claims of the ’651 patent do not merely recite the performance of some

business practice known from the pre-Internet world along with the requirement to perform it on

the Internet. Instead, the claims of the ’651 patent recite one or more inventive concepts that are

rooted in computerized semiconductor manufacturing or fabrication technologies, and overcome

problems specifically arising in the realm of computerized semiconductor manufacturing or

fabrication technologies.

       32.     The ’651 patent is directed to an invention that is not merely the routine or

conventional use of the Internet or a generic computer. Instead, it is directed to a process tool



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with an adjustable wafer stage that offers customizable positioning features to facilitate raising,

lowering, or tilting of the wafer stage. This design allows surface adjustment of a wafer surface

on which semiconductor materials are deposited to ensure a surface profile that is uniform across

the surface of each wafer. The ’651 patent claims thus specify how a semiconductor

manufacturing system is manipulated to yield a desired result.

       33.     Accordingly, each claim of the ’651 patent recites a combination of elements

sufficient to ensure that the claim in practice amounts to significantly more than a patent on an

ineligible concept.

       34.     On April 30, 2002, U.S. Patent Application No. 10/135,145 was filed at the

USPTO (the “’145 Application”). The ’145 Application was duly examined and issued as U.S.

Patent No. 6,907,305 (“the ‘305 Patent”), entitled “Agent Reactive Scheduling in an Automated

Manufacturing Environment” on June 14, 2005. A true and correct copy of the ʼ305 patent is

attached hereto as Exhibit B.

       35.     Ocean Semiconductor is the owner of the ʼ305 patent and has the full and

exclusive right to bring actions and recover past, present, and future damages for MediaTek’s

infringement of the ʼ305 patent.

       36.     The inventions of the ’305 patent resolve technical problems related to utilization

of process tools and scheduling and execution control of factory control systems. For example,

the ’305 patent describes agents that reactively schedule, initiate, and execute activities, such as

lot transport and processing, in response to certain events occurring during the semiconductor

manufacturing process.

       37.     The claims of the ’305 patent do not merely recite the performance of some

business practice known from the pre-Internet world along with the requirement to perform it on



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the Internet. Instead, the claims of the ’305 patent recite one or more inventive concepts that are

rooted in computerized semiconductor manufacturing or fabrication technologies, and overcome

problems specifically arising in the realm of computerized semiconductor manufacturing or

fabrication technologies.

       38.     The ’305 patent is directed to an invention that is not merely the routine or

conventional use of the Internet or a generic computer. Instead, it is directed to a manufacturing

system that facilitates the reactive scheduling of events resulting from certain factory state

changes occurred within the process flow, such as a downtime occurrence, a machine becoming

available, a processing chamber being down, a lot departing a machine, a preventative

maintenance and equipment qualification being detected, and a wafer being completed. This

system, in turn, allows efficient management of factory control systems and optimizes wafer

throughput. The ’305 patent claims thus specify how a semiconductor manufacturing system is

manipulated to yield a desired result.

       39.     Accordingly, each claim of the ’305 patent recites a combination of elements

sufficient to ensure that the claim in practice amounts to significantly more than a patent on an

ineligible concept.

       40.     On July 31, 2000, U.S. Patent Application No. 09/629,073 was filed at the

USPTO (“the ʼ073 Application”). The ʼ073 Application was duly examined and issued as U.S.

Patent No. 6,725,402 (“the ʼ402 Patent”), entitled “Method and Apparatus for Fault Detection of

a Processing Tool and Control Thereof Using an Advanced Process Control (APC) Framework”)

on April 20, 2004. A true and correct copy of the ʼ402 patent is attached hereto as Exhibit C.




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       41.     Ocean Semiconductor is the owner of the ʼ402 patent and has the full and

exclusive right to bring actions and recover past, present, and future damages for MediaTek’s

infringement of the ʼ402 patent.

       42.     The inventions of the ’402 patent resolve technical problems related to the delay

in reporting manufacturing faults during semiconductor manufacturing, which led to faulty

semiconductor devices being produced. For example, the ’402 patent describes systems and

methods for shutting down a process tool or halting a manufacturing process in the presence of a

manufacturing fault.

       43.     The claims of the ’402 patent do not merely recite the performance of some

business practice known from the pre-Internet world along with the requirement to perform it on

the Internet. Instead, the claims of the ’402 patent recite one or more inventive concepts that are

rooted in computerized semiconductor manufacturing or fabrication technologies, and overcome

problems specifically arising in the realm of computerized semiconductor manufacturing or

fabrication technologies.

       44.     The ’402 patent is directed to an invention that is not merely the routine or

conventional use of the Internet or a generic computer. Instead, it is directed to a fault detection

system in a semiconductor manufacturing process to detect the presence of a manufacturing fault

and perform corrective measures in an expedient manner. The ’402 patent claims thus specify

how a semiconductor manufacturing system is manipulated to yield a desired result.

       45.     Accordingly, each claim of the ’402 patent recites a combination of elements

sufficient to ensure that the claim in practice amounts to significantly more than a patent on an

ineligible concept.




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       46.     On June 13, 2005, U.S. Patent Application No. 11/151,098 was filed at the

USPTO (“the ʼ098 Application”). The ʼ098 Application was duly examined and issued as U.S.

Patent No. 6,968,248 (“the ʼ248 Patent”), entitled “Agent Reactive Scheduling in an Automated

Manufacturing Environment” on November 22, 2005. A true and correct copy of the ʼ248 patent

is attached hereto as Exhibit D.

       47.     Ocean Semiconductor is the owner of the ʼ248 patent and has the full and

exclusive right to bring actions and recover past, present, and future damages for MediaTek’s

infringement of the ʼ248 patent.

       48.     The inventions of the ’248 patent resolve technical problems related to utilization

of process tools and scheduling and execution control of factory control systems. For example,

the ’248 patent describes agents that reactively schedule, initiate, and execute activities, such as

lot transport and processing, in response to certain events occurring during the semiconductor

manufacturing process.

       49.     The claims of the ’248 patent do not merely recite the performance of some

business practice known from the pre-Internet world along with the requirement to perform it on

the Internet. Instead, the claims of the ’248 patent recite one or more inventive concepts that are

rooted in computerized semiconductor manufacturing or fabrication technologies, and overcome

problems specifically arising in the realm of computerized semiconductor manufacturing or

fabrication technologies.

       50.     The ’248 patent is directed to an invention that is not merely the routine or

conventional use of the Internet or a generic computer. Instead, it is directed to a manufacturing

system that facilitates the reactive scheduling of events resulting from certain factory state

changes occurred within the process flow, such as a downtime occurrence, a machine becoming



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available, a processing chamber being down, a lot departing a machine, a preventative

maintenance and equipment qualification being detected, and a wafer being completed. This

system, in turn, allows efficient management of factory control systems and optimizes wafer

throughput. The ’248 patent claims thus specify how a semiconductor manufacturing system is

manipulated to yield a desired result.

       51.     Accordingly, each claim of the ’248 patent recites a combination of elements

sufficient to ensure that the claim in practice amounts to significantly more than a patent on an

ineligible concept.

       52.     On March 5, 2003, U.S. Patent Application No. 10/379,738, was filed at the

USPTO (“the ʼ738 Application”). The ʼ738 Application was duly examined and issued as U.S.

Patent No. 7,080,330 (“the ʼ330 patent”), entitled “Concurrent Measurement of Critical

Dimension and Overlay in Semiconductor Manufacturing,” on Jul. 18, 2006. A true and correct

copy of the ʼ330 patent is attached hereto as Exhibit E.

       53.     Ocean Semiconductor is the owner of the ʼ330 patent and has the full and

exclusive right to bring actions and recover past, present, and future damages for MediaTek’s

infringement of the ʼ330 patent.

       54.     The inventions of the ʼ330 patent resolve technical problems related to forming

integrated circuits without overlay errors. For example, the ʼ330 patent describes a method that

monitors and controls a semiconductor fabrication process that mitigate overlay errors and

achieve desired critical dimensions.

       55.     The claims of the ʼ330 patent do not merely recite the performance of some

business practice known from the pre-Internet world along with the requirement to perform it on

the Internet. Instead, the claims of the ʼ330 patent recite one or more inventive concepts that are



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rooted in computerized semiconductor manufacturing or fabrication technologies, and overcome

problems specifically arising in the realm of computerized semiconductor manufacturing or

fabrication technologies.

        56.       The ʼ330 patent is directed to an invention that is not merely the routine or

conventional use of the Internet or a generic computer. Instead, it is directed to, for example,

partitioning a wafer into grid blocks to facilitate concurrent measurements of critical dimensions

and overlay as the wafer matriculates through the semiconductor fabrication processes in order to

mitigate overlay errors and bring critical dimension within acceptable tolerances. The ʼ330

patent claims thus specify how a semiconductor manufacturing process is manipulated to yield a

desired result.

        57.       Accordingly, each claim of the ʼ330 patent recites a combination of elements

sufficient to ensure that the claim in practice amounts to significantly more than a patent on an

ineligible concept.

        58.       On May 1, 2003, U.S. Patent Application No. 10/427,620, was filed at the

USPTO (“the ʼ620 Application”). The ʼ620 Application was duly examined and issued as U.S.

Patent No. 6,836,691 (“the ʼ691 patent”), entitled “Method and Apparatus for Filtering

Metrology Data Based on Collection Purpose,” on Dec. 28, 2004. A true and correct copy of the

ʼ691 patent is attached hereto as Exhibit F.

        59.       Ocean Semiconductor is the owner of the ʼ691 patent and has the full and

exclusive right to bring actions and recover past, present, and future damages for MediaTek’s

infringement of the ʼ691 patent.

        60.       The inventions of the ʼ691 patent resolve technical problems related to a process

controller collecting metrology data that does not accurately reflect the state of the fabrication



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process or the device(s) being manufactured. For example, the ʼ691 patent describes a method of

generating context data for the metrology data and filtering the metrology data to improve the

performance of the process controller by removing outlier data that exhibits variation from a

source other than normal process variation.

        61.     The claims of the ʼ691 patent do not merely recite the performance of some

business practice known from the pre-Internet world along with the requirement to perform it on

the Internet. Instead, the claims of the ʼ691 patent recite one or more inventive concepts that are

rooted in computerized semiconductor manufacturing or fabrication technologies, and overcome

problems specifically arising in the realm of computerized semiconductor manufacturing or

fabrication technologies.

        62.     The ʼ691 patent is directed to an invention that is not merely the routine or

conventional use of the Internet or a generic computer. Instead, it is directed to, for example, a

process controller that gathers and filters metrology data to remove data originated from non-

process sources of variation in order to, for example, accurately identify a fault detection. The

ʼ691 patent claims thus specify how a semiconductor manufacturing process is manipulated to

yield a desired result.

        63.     Accordingly, each claim of the ʼ691 patent recites a combination of elements

sufficient to ensure that the claim in practice amounts to significantly more than a patent on an

ineligible concept.

        64.     On Nov 2, 2004, U.S. Patent Application No. 10/979,309, was filed at the USPTO

(“the ʼ309 Application”). The ʼ309 Application was duly examined and issued as U.S. Patent

No. 8,676,538 (“the ʼ538 patent”), entitled “Adjusting Weighting of a parameter Relating to




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Fault Detection Based on a Detected Fault,” on Mar. 18, 2014. A true and correct copy of the

ʼ538 patent is attached hereto as Exhibit G.

       65.     Ocean Semiconductor is the owner of the ʼ538 patent and has the full and

exclusive right to bring actions and recover past, present, and future damages for MediaTek’s

infringement of the ʼ538 patent.

       66.     The inventions of the ʼ538 patent resolve technical problems related to

inaccurately detecting faults in semiconductor manufacturing processes. For example, the ʼ691

patent describes a method for employing a dynamic weighting technique in fault detection

analysis, including determining a relationship of a parameter relating to the fault detection

analysis to a detected fault and adjusting a weighting associating with the parameter based upon

the relationship of the parameter to the detected fault.

       67.     The claims of the ʼ538 patent do not merely recite the performance of some

business practice known from the pre-Internet world along with the requirement to perform it on

the Internet. Instead, the claims of the ʼ538 patent recite one or more inventive concepts that are

rooted in computerized semiconductor manufacturing or fabrication technologies, and overcome

problems specifically arising in the realm of computerized semiconductor manufacturing or

fabrication technologies.

       68.     The ʼ538 patent is directed to an invention that is not merely the routine or

conventional use of the Internet or a generic computer. Instead, it is directed to, for example,

performing fault detection analyses using dynamic weighting processes to accurately assess

faults associated with processing semiconductor wafers. The ʼ538 patent claims thus specify

how a semiconductor manufacturing process is manipulated to yield a desired result.




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       69.     Accordingly, each claim of the ʼ538 patent recites a combination of elements

sufficient to ensure that the claim in practice amounts to significantly more than a patent on an

ineligible concept.

                      COUNT I: INFRINGEMENT OF THE ʼ651 PATENT

       70.     Ocean Semiconductor repeats and re-alleges the allegations of the above

paragraphs as if fully set forth herein.

       71.     At least as of October 15, 2020, Ocean Semiconductor placed MediaTek on actual

notice of the ’651 patent and actual notice that its actions constituted and continued to constitute

infringement of the ’651 patent. MediaTek has had actual knowledge of the ’651 patent and its

own infringement of the ’651 patent since at least that time.

       72.     On information and belief, MediaTek has directly infringed and continues to

infringe at least claim 19 of the ’651 patent literally or under the doctrine of equivalents, by

importing into the United States, and/or using, and/or selling, and/or offering for sale in the

United States, without authority or license, integrated circuits that are designed, developed,

fabricated, and/or manufactured using the ASML TWINSCAN system and/or similar systems

(e.g., with similar technical and functional features), and systems, products, and/or devices

containing these integrated circuits including at least the MediaTek TWINSCAN Products

(“ʼ651 Accused Products”) in violation of 35 U.S.C. § 271. The ʼ651 Accused Products are

manufactured by a process including all of the limitations of at least claim 19 of the ʼ651 patent.

Each such product includes an integrated circuit fabricated or manufactured using, for example,

the ASML TWINSCAN system.

       73.     Discovery is expected to uncover the full extent of MediaTek’s infringement of

the ’651 patent beyond the ʼ651 Accused Products already identified herein.



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       74.     Specifically, on information and belief, MediaTek has directly infringed and

continues to infringe at least claim 19 of the ’651 patent literally or under the doctrine of

equivalents, by importing into the United States, and/or using, and/or selling, and/or offering for

sale in the United States, without authority or license, the ’651 Accused Products, in violation of

35 U.S.C. § 271(g). On information and belief, MediaTek imports the ʼ651 Accused Products

into the United States for sales and distribution to customers located in the United States. On

information and belief, MediaTek sells and/or offers for sale the ʼ651 Accused Products in the

United States. For example, MediaTek provides direct sales through its own sales channels

and/or its distributors or contract manufacturers and sells the ʼ651 Accused Products to

businesses including original equipment manufacturers and electronic manufacturing service

providers. On information and belief, these direct sales include sales of the ʼ651 Accused

Products in the United States. On information and belief, MediaTek offers the ʼ651 Accused

Products for sale in the United States. For example, MediaTek engages in sales, marketing, and

contracting activity in the United States and/or with United States offices of its customers.

       75.     The ʼ651 Accused Products are manufactured by a process including all of the

limitations of at least claim 19 of the ʼ651 patent. For example, during the manufacture of the

ʼ651 Accused Products, a process chamber is provided that includes a wafer stage having a

surface that is adjustable. The surface of the wafer stage is adjusted by performing at least one

of raising, lowering, and varying a tilt of the surface of the wafer stage. A wafer from which the

ʼ651 Accused Products are fabricated or manufactured is positioned after adjusting the wafer

stage such that a process operation is performed on the wafer positioned on the wafer stage. On

information and belief, MediaTek, directly or through one of its Foundry Partners, contracted

with ASML to use this process to design, develop, or manufacture the ʼ651 Accused Products.



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On information and belief, MediaTek, directly or through one of its Foundry Partners, contracted

with ASML to use this process to design, develop, or manufacture the ʼ651 Accused Products.

       76.     Attached hereto as Exhibit H, and incorporated by reference herein, is a claim

chart detailing how each of the ʼ651 Accused Products is manufactured using the ASML

TWINSCAN system by a MediaTek Foundry Partner on behalf of MediaTek (e.g., TSMC and/or

UMC) that satisfies each element of at least claim 19 of the ’651 patent, literally or under the

doctrine of equivalents.

       77.     On information and belief, the ʼ651 Accused Products are neither materially

changed by subsequent processes nor become trivial and nonessential components of another

product.

       78.     On information and belief, at least as of October 15, 2020, MediaTek has induced

and continues to induce others actively, knowingly, and intentionally, including its suppliers and

contract manufacturers, to infringe one or more claims of the ’651 patent, including, but not

limited to, claim 19, pursuant to 35 U.S.C. § 271(b), by actively encouraging others to import

into the United States, and/or make, use, sell, and/or offer to sell in the United States, the ’651

Accused Products or products containing the infringing semiconductor components of the ’651

Accused Products, by actively inducing others to infringe the ’651 patent by making, using,

selling, offering for sale, marketing, advertising, and/or importing the Accused Products to their

customers for use in downstream products that infringe, or were manufactured using processes

that infringe, the ’651 patent, and by instructing others to infringe the ’651 patent.

       79.     For example, MediaTek actively promotes the sale, use, and importation of the

’651 Accused Products in marketing materials, technical specifications, data sheets, web pages

on its website (e.g., https://www.mediatek.com/), press releases, training tutorials, development



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and design tools, user manuals, and developer forums as well as at trade shows (e.g., the

Consumer Technology Association’s Consumer Electronics Show (“CES”)) and MediaTek’s

online Discussion Forum and Expert’s Corner) and through its sales and distribution channels

that encourage infringing uses, sales, offers to sell, and importation of the ’651 Accused

Products. As another example, MediaTek’s representatives travel to customer sites in the United

States for sales and support activity that includes working with customers to facilitate these

customers’ infringing testing, marketing, importation, and sales activity. On information and

belief, MediaTek supplies customers with ’651 Accused Products so that they may be used, sold,

or offered for sale by those customers. For example, MediaTek provides direct sales to original

equipment manufacturers and electronic manufacturing service providers. On information and

belief, these direct sales include sales to customers in the United States. MediaTek also

promotes, publicly on its website, uses of the ’651 Accused Products by customers in the United

States. MediaTek additionally provides a wide range of technical support to customers and

businesses, including product-specific solutions and community forums.

       80.     On information and belief, MediaTek sells or offers for sale the ʼ651 Accused

Products to third parties that incorporate the ʼ651 Accused Products into third party products

(“the ʼ651 Third Party Products”).

       81.     On information and belief, MediaTek assists third parties, directly and/or through

intermediaries, in the development of the ʼ651 Third Party Products and provides technical

support and supports the sales of the ʼ651 Third Party Products.

       82.     On information and belief, since at least as of October 15, 2020, MediaTek has

induced and continues to induce third parties with specific intent or willful blindness to import,

make, use, sell, and/or offer to sell ’651 Third Party Products that include at least one ’651



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Accused Product fabricated or manufactured using the ASML TWINSCAN system, or similar

systems (e.g., with similar technical and functional features), whose make, use, sale, offer for

sale, or importation constitutes direct infringement of at least one claim of the ’651 patent.

       83.     On information and belief, the ʼ651 Third Party Products are imported into the

United States for use, sale, and/or offer for sale in this District and throughout the United States

(“Imported ʼ651 Third Party Products”).

       84.     On information and belief, to the extent any entity other than MediaTek, including

but not limited to any of MediaTek’s Foundry Partners or third-party importers, imports

the ’651 Accused Products and/or Imported ’651 Third-Party Products into the United States for

or on behalf of MediaTek (“Third Party Importer”), MediaTek is liable for inducement of

infringement by the Third Party Importer. MediaTek has encouraged the Third Party Importer to

infringe the ’651 patent and intended that it do so. This encouragement includes at least ordering

or instructing the Third Party Importer to import the ’651 Accused Products and/or ’651 Third-

Party Products into the United States, providing directions and other materials to the Third Party

Importer to enable such importation, and/or conditioning the receipt of benefits (included but not

limited to payment) to the Third Party Importer on such importation. On information and belief,

this behavior has continued since Defendant first became aware of the ’651 patent and the

infringement thereof.

       85.     On information and belief, to the extent any entity other than MediaTek, including

but not limited to any of MediaTek’s Foundry Partners, uses the patented method to fabricate or

manufacture the ’651 Accused Products and/or Imported ’651 Third-Party Products in the United

States for or on behalf of MediaTek (“Third Party Manufacturer”), MediaTek is liable

for inducement of infringement by the Third Party Manufacturer. MediaTek has encouraged the



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Third Party Manufacturer to infringe the ’651 patent and intended that it do so. This

encouragement includes, without limitation, ordering the ’651 Accused Products from the Third

Party Manufacturer since Defendant first became aware of the ’651 patent and its infringement

by the Third Party Manufacturer.

        86.     MediaTek has benefitted and continues to benefit from the importation into the

United States of the ’651 Accused Products, ’651 Third Party Products, and Imported ʼ651 Third

Party Products.

        87.     Ocean Semiconductor has suffered, and continues to suffer, damages as a result of

MediaTek’s infringement of the ’651 patent.

        88.     MediaTek has continued to infringe the ’651 patent since at least October 15,

2020, despite being on notice of the ’651 patent and its infringement. MediaTek has therefore

infringed the ’651 patent knowingly, willfully, deliberately, and in disregard of Plaintiff’s patent

rights since at least October 15, 2020, at least by performing acts of infringement with actual

knowledge of its direct and indirect infringement or while remaining willfully blind to the fact of

its direct and indirect infringement. As a result of at least this conduct, Plaintiff is entitled to

enhanced damages under 35 U.S.C. § 284 and to attorneys’ fees and costs under 35 U.S.C. § 285.

        89.     Ocean Semiconductor reserves the right to modify its infringement theories as

discovery progresses in this case. Ocean Semiconductor shall not be estopped or otherwise

limited or restricted for purposes of its infringement contentions or its claim constructions by the

claim charts that it provides with this Complaint. Ocean Semiconductor intends for the claim

chart (Exhibit H) for the ’651 patent to satisfy the notice requirements of Rule 8(a)(2) of the

Federal Rule of Civil Procedure. The claim chart is not Ocean Semiconductor’s preliminary or

final infringement contentions or preliminary or final claim construction positions.



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                    COUNT II: INFRINGEMENT OF THE ʼ402 PATENT

       90.     Ocean Semiconductor repeats and re-alleges the allegations of the above

paragraphs as if fully set forth herein.

       91.     At least as of October 15, 2020, Ocean Semiconductor placed MediaTek on actual

notice of the ’402 patent and actual notice that its actions constituted and continued to constitute

infringement of the ’402 patent. MediaTek has had actual knowledge of the ’402 patent and its

own infringement of the ’402 patent since at least that time.

       92.     MediaTek has directly infringed and continues to infringe at least claim 1 of the

’402 patent literally or under the doctrine of equivalents, by importing into the United States,

and/or using, and/or selling, and/or offering for sale in the United States, without authority or

license, integrated circuits designed, developed, fabricated, and/or manufactured using the

Applied Materials E3 system, PDF Solutions’ Exensio system, and/or similar systems (e.g., with

similar technical and functional features), and systems, products, and/or devices containing these

integrated circuits including at least the MediaTek APC Products (“’402 Accused Products”) in

violation of 35 U.S.C. § 271. The ’402 Accused Products are manufactured by a process

including all of the limitations of at least claim 1 of the ’402 patent. Each such product includes

an integrated circuit fabricated or manufactured using, for example, the Applied Materials E3

system and/or PDF Solutions’ Exensio system.

       93.     Discovery is expected to uncover the full extent of MediaTek’s infringement of

the ’402 patent beyond the ’402 Accused Products already identified herein.

       94.     Specifically, on information and belief, MediaTek has directly infringed and

continues to infringe at least claim 1 of the ’402 patent literally or under the doctrine of

equivalents, by importing into the United States, and/or using, and/or selling, and/or offering for



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sale in the United States, without authority or license, the ’402 Accused Products, in violation of

35 U.S.C. § 271(g). On information and belief, MediaTek imports the ’402 Accused Products

into the United States for sales and distribution to customers located in the United States. On

information and belief, MediaTek sells and/or offers for sale the ’402 Accused Products in the

United States. For example, MediaTek provides direct sales through its own sales channels

and/or its distributors or contract manufacturers and sells the ’402 Accused Products to

businesses including original equipment manufacturers and electronic manufacturing service

providers. On information and belief, these direct sales include sales of the ’402 Accused

Products in the United States. On information and belief, MediaTek offers the ’402 Accused

Products for sale in the United States. For example, MediaTek engages in sales, marketing, and

contracting activity in the United States and/or with United States offices of its customers.

        95.     The ’402 Accused Products are manufactured by a process including all of the

limitations of at least claim 1 of the ’402 patent. The ’402 Accused Products are made by a

claimed method. Each is an integrated circuit fabricated or manufactured using, for example, the

Applied Materials E3 system and/or PDF Solutions’ Exensio system. For example, during the

manufacture of the ’402 Accused Products (e.g., by the Applied Materials E3 system and/or PDF

Solutions’ Exensio system and/or similar systems (e.g., with similar technical and functional

features)), operational state data of a processing tool related to the manufacture of a processing

piece (e.g., from which the ’402 Accused Products are fabricated or manufactured) is received at

a first interface. The state data from the first interface is sent to a fault detection unit, including

sending the state data from the first interface to a data collection unit. The state data is

accumulated at the data collection unit and translated from a first communications protocol to a

second communications protocol compatible with the fault detection unit. The translated state



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data is sent from the data collection unit to the fault detection unit to determine if a fault

condition exists with the processing tool based upon the state data received by the fault detection

unit. Then, a predetermined action is performed on the processing tool in response to the

presence of a fault condition, and an alarm signal indicative of the fault condition is sent to an

advanced process control framework from the fault detection unit providing that a fault condition

of the processing tool was determined by the fault detection unit. This manufacturing process

also includes sending a signal by the framework to the first interface reflective of the

predetermined action, and sending the accumulated state data from the data collection unit to the

fault detection unit while a processing piece is being processed by the tool. On information and

belief, MediaTek, directly or through one of its Foundry Partners (e.g., TSMC and/or UMC),

contracted with Applied Materials and PDF Solutions to use this process to design, develop, or

manufacture the ʼ402 Accused Products.

        96.     Attached hereto as Exhibits I and J, and incorporated by reference herein, are

claim charts detailing how each of the ʼ402 Accused Products is manufactured using the Applied

Materials E3 system and/or PDF Solutions’ Exensio system by a MediaTek Foundry Partner on

behalf of MediaTek (e.g., UMC and TSMC) that satisfies each element of at least claim 1 of the

ʼ402 patent, literally or under the doctrine of equivalents.

        97.     On information and belief, the ʼ402 Accused Products are neither materially

changed by subsequent processes nor become trivial and nonessential components of another

product.

        98.     On information and belief, since at least as of October 15, 2020, MediaTek has

induced and continues to induce others actively, knowingly, and intentionally, including its

suppliers and contract manufacturers, to infringe one or more claims of the ʼ402 patent,



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including, but not limited to, claim 1, pursuant to 35 U.S.C. § 271(b), by actively encouraging

others to import into the United States, and/or make, use, sell, and/or offer to sell in the United

States, the ʼ402 Accused Products or products containing the infringing semiconductor

components of the ʼ402 Accused Products, by actively inducing others to infringe the ʼ402 patent

by making, using, selling, offering for sale, marketing, advertising, and/or importing the Accused

Products to their customers for use in downstream products that infringe, or were manufactured

using processes that infringe, the ʼ402 patent, and by instructing others to infringe the ʼ402

patent.

          99.     For example, MediaTek actively promotes the sale, use, and importation of the

ʼ402 Accused Products in marketing materials, technical specifications, data sheets, web pages

on its website (e.g., https://www.mediatek.com/), press releases, training tutorials, development

and design tools, user manuals, and developer forums as well as at trade shows (e.g., the

Consumer Technology Association’s Consumer Electronics Show (“CES”)) and MediaTek’s

online Discussion Forum and Expert’s Corner) and through its sales and distribution channels

that encourage infringing uses, sales, offers to sell, and importation of the ʼ402 Accused

Products. As another example, MediaTek’s representatives travel to customer sites in the United

States for sales and support activity that includes working with customers to facilitate these

customers’ infringing testing, marketing, importation, and sales activity. On information and

belief, MediaTek supplies customers with ʼ402 Accused Products so that they may be used, sold,

or offered for sale by those customers. For example, MediaTek provides direct sales to original

equipment manufacturers and electronic manufacturing service providers. On information and

belief, these direct sales include sales to customers in the United States. MediaTek also

promotes, publicly on its website, uses of the ʼ402 Accused Products by customers in the United



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States. MediaTek additionally provides a wide range of technical support to customers and

businesses, including product-specific solutions and community forums.

       100.     On information and belief, MediaTek sells or offers for sale the ʼ402 Accused

Products to third parties that incorporate the ʼ402 Accused Products into third party products

(“the ʼ402 Third Party Products”).

       101.     On information and belief, MediaTek assists third parties, directly and/or through

intermediaries, in the development of the ʼ402 Third Party Products and provides technical

support and supports the sales of the ʼ402 Third Party Products.

       102.     On information and belief, since at least as of October 15, 2020, MediaTek has

induced and continues to induce third parties with specific intent or willful blindness to import,

make, use, sell, and/or offer to sell ʼ402 Third Party Products that include at least one ʼ402

Accused Product fabricated or manufactured using the Applied Materials E3 system, and/or PDF

Solutions’ Exensio system and/or similar systems (e.g., with similar technical and functional

features), whose make, use, sale, offer for sale, or importation constitutes direct infringement of

at least one claim of the ʼ402 patent.

       103.     On information and belief, the ʼ402 Third Party Products are imported into the

United States for use, sale, and/or offer for sale in this District and throughout the United States

(“Imported ʼ402 Third Party Products”).

       104.     On information and belief, to the extent any entity other than MediaTek, including

but not limited to any of MediaTek’s Foundry Partners or third-party importers, imports the ʼ402

Accused Products and/or Imported ʼ402 Third-Party Products into the United States for or on

behalf of MediaTek (“Third Party Importer”), MediaTek is liable for inducement of infringement

by the Third Party Importer. MediaTek has encouraged the Third Party Importer to infringe



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the ʼ402 patent and intended that it do so. This encouragement includes at least ordering or

instructing the Third Party Importer to import the ʼ402 Accused Products and/or ʼ402 Third-

Party Products into the United States, providing directions and other materials to the Third Party

Importer to enable such importation, and/or conditioning the receipt of benefits (included but not

limited to payment) to the Third Party Importer on such importation. On information and belief,

this behavior has continued since Defendant first became aware of the ʼ402 patent and the

infringement thereof.

       105.     On information and belief, to the extent any entity other than MediaTek, including

but not limited to any of MediaTek’s Foundry Partners, uses the patented method to fabricate or

manufacture the ʼ402 Accused Products and/or Imported ʼ402 Third-Party Products in the United

States for or on behalf of MediaTek (“Third Party Manufacturer”), MediaTek is liable

for inducement of infringement by the Third Party Manufacturer. MediaTek has encouraged the

Third Party Manufacturer to infringe the ʼ402 patent and intended that it do so. This

encouragement includes, without limitation, ordering the ʼ402 Accused Products from the Third

Party Manufacturer since Defendant first became aware of the ʼ402 patent and its infringement

by the Third Party Manufacturer.

       106.     MediaTek has benefitted and continues to benefit from the importation into the

United States of the ’402 Accused Products, ’402 Third Party Products, and Imported ʼ402 Third

Party Products.

       107.     Ocean Semiconductor has suffered, and continues to suffer, damages as a result of

MediaTek’s infringement of the ’402 patent.

       108.     MediaTek has continued to infringe the ’402 patent since at least October 15,

2020, despite being on notice of the ’402 patent and its infringement. MediaTek has therefore



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infringed the ’402 patent knowingly, willfully, deliberately, and in disregard of Plaintiff’s patent

rights since at least October 15, 2020, at least by performing acts of infringement with actual

knowledge of its direct and indirect infringement or while remaining willfully blind to the fact of

its direct and indirect infringement. As a result of at least this conduct, Plaintiff is entitled to

enhanced damages under 35 U.S.C. § 284 and to attorneys’ fees and costs under 35 U.S.C. § 285.

        109.     Ocean Semiconductor reserves the right to modify its infringement theories as

discovery progresses in this case. Ocean Semiconductor shall not be estopped or otherwise

limited or restricted for purposes of its infringement contentions or its claim constructions by the

claim charts that it provides with this Complaint. Ocean Semiconductor intends the claim chart

(Exhibits I and J) for the ’402 patent to satisfy the notice requirements of Rule 8(a)(2) of the

Federal Rule of Civil Procedure. The claim chart is not Ocean Semiconductor’s preliminary or

final infringement contentions or preliminary or final claim construction positions.


                    COUNT III: INFRINGEMENT OF THE ʼ305 PATENT

        110.     Ocean Semiconductor repeats and re-alleges the allegations of the above

paragraphs as if fully set forth herein.

        111.     At least as of October 15, 2020, Ocean Semiconductor placed MediaTek on actual

notice of the ’305 patent and actual notice that its actions constituted and continued to constitute

infringement of the ’305 patent. MediaTek has had actual knowledge of the ’305 patent and its

own infringement of the ’305 patent since at least that time.

        112.     MediaTek has directly infringed and continues to infringe at least claim 1 of the

’305 patent literally or under the doctrine of equivalents, by importing into the United States,

and/or using, and/or selling, and/or offering for sale in the United States, without authority or

license, integrated circuits designed, developed, fabricated, and/or manufactured using the


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Applied Materials SmartFactory system and/or other similar proprietary or third-party scheduling

and dispatching platform hardware and/or software (e.g., with similar technical and functional

features), and systems, products, and/or devices containing these integrated circuits including at

least the MediaTek Scheduling Products (“’305 Accused Products”) in violation of 35 U.S.C. §

271. The ’305 Accused Products are manufactured by a process including all of the limitations

of at least claim 1 of the ’305 patent. Each such product includes an integrated circuit fabricated

or manufactured using, for example, the Applied Materials SmartFactory system.

       113.     Discovery is expected to uncover the full extent of MediaTek’s infringement of

the ’305 patent beyond the ’305 Accused Products already identified herein.

       114.     Specifically, on information and belief, MediaTek has directly infringed and

continues to infringe at least claim 1 of the ’305 patent literally or under the doctrine of

equivalents, by importing into the United States, and/or using, and/or selling, and/or offering for

sale in the United States, without authority or license, the ’305 Accused Products, in violation of

35 U.S.C. § 271(g). On information and belief, MediaTek imports the ’305 Accused Products

into the United States for sales and distribution to customers located in the United States. On

information and belief, MediaTek sells and/or offers for sale the ’305 Accused Products in the

United States. For example, MediaTek provides direct sales through its own sales channels

and/or its distributors or contract manufacturers and sells the ’305 Accused Products to

businesses including original equipment manufacturers and electronic manufacturing service

providers. On information and belief, these direct sales include sales of the ’305 Accused

Products in the United States. On information and belief, MediaTek offers the ’305 Accused

Products for sale in the United States. For example, MediaTek engages in sales, marketing, and

contracting activity in the United States and/or with United States offices of its customers.



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       115.     The ’305 Accused Products are manufactured by a process including all of the

limitations of at least claim 1 of the ’305 patent. For example, during the manufacture of the

’305 Accused Products (e.g., by the Applied Material SmartFactory system or similar systems

(e.g., with similar technical and functional features)), an occurrence of a predetermined event is

detected in a process flow and a software scheduling agent is notified of the occurrence. An

action is reactively scheduled from the software scheduling agent responsive to the detection of

the predetermined event. An appointment is proactively scheduled with which the

predetermined event is associated. On information and belief, MediaTek, directly or through one

of its Foundry Partners, contracted with Applied Materials to use this process to design, develop,

or manufacture the ʼ305 Accused Products.

       116.     Attached hereto as Exhibit K, and incorporated by reference herein, is a claim

chart detailing how each of the ’305 Accused Products is manufactured using the Applied

Materials SmartFactory system by a MediaTek Foundry Partner on behalf of MediaTek (e.g.,

UMC) that satisfies each element of at least claim 1 of the ’305 patent, literally or under the

doctrine of equivalents.

       117.     On information and belief, the ’305 Accused Products are neither materially

changed by subsequent processes nor become trivial and nonessential components of another

product.

       118.     On information and belief, since at least as of October 15, 2020, MediaTek has

induced and continues to induce others actively, knowingly, and intentionally, including its

suppliers and contract manufacturers, to infringe one or more claims of the ’305 patent,

including, but not limited to, claim 1, pursuant to 35 U.S.C. § 271(b), by actively encouraging

others to import into the United States, and/or make, use, sell, and/or offer to sell in the United



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States, the ’305 Accused Products or products containing the infringing semiconductor

components of the ’305 Accused Products, by actively inducing others to infringe the ’305 patent

by making, using, selling, offering for sale, marketing, advertising, and/or importing the Accused

Products to their customers for use in downstream products that infringe, or were manufactured

using processes that infringe, the ’305 patent, and by instructing others to infringe the ’305

patent.

          119.     For example, MediaTek actively promotes the sale, use, and importation of the

’305 Accused Products in marketing materials, technical specifications, data sheets, web pages

on its website (e.g., https://www.mediatek.com/), press releases, training tutorials, development

and design tools, user manuals, and developer forums as well as at trade shows (e.g., the

Consumer Technology Association’s Consumer Electronics Show (“CES”)) and MediaTek’s

online Discussion Forum and Expert’s Corner) and through its sales and distribution channels

that encourage infringing uses, sales, offers to sell, and importation of the ’305 Accused

Products. As another example, MediaTek’s representatives travel to customer sites in the United

States for sales and support activity that includes working with customers to facilitate these

customers’ infringing testing, marketing, importation, and sales activity. On information and

belief, MediaTek supplies customers with ’305 Accused Products so that they may be used, sold,

or offered for sale by those customers. For example, MediaTek provides direct sales to original

equipment manufacturers and electronic manufacturing service providers. On information and

belief, these direct sales include sales to customers in the United States. MediaTek also

promotes, publicly on its website, uses of the ’305 Accused Products by customers in the United

States. MediaTek additionally provides a wide range of technical support to customers and

businesses, including product-specific solutions and community forums.



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          120.     On information and belief, MediaTek sells or offers for sale the ’305 Accused

Products to third parties that incorporate the ’305 Accused Products into third party products

(“the ’305 Third Party Products”).

          121.     On information and belief, MediaTek assists third parties, directly and/or through

intermediaries, in the development of the ’305 Third Party Products and provides technical

support and supports the sales of the ’305 Third Party Products.

          122.     On information and belief, since at least as of October 15, 2020, MediaTek has

induced and continues to induce third parties with specific intent or willful blindness to import,

make, use, sell, and/or offer to sell ’305 Third Party Products that include at least one ’305

Accused Product fabricated or manufactured using the Applied Materials SmartFactory system,

or similar systems (e.g., with similar technical and functional features), whose make, use, sale,

offer for sale, or importation constitutes direct infringement of at least one claim of the ’305

patent.

          123.     On information and belief, the ’305 Third Party Products are imported into the

United States for use, sale, and/or offer for sale in this District and throughout the United States

(“Imported ’305 Third Party Products”).

          124.     On information and belief, to the extent any entity other than MediaTek, including

but not limited to any of MediaTek’s Foundry Partners or third-party importers, imports the ’305

Accused Products and/or Imported ’305 Third-Party Products into the United States for or on

behalf of MediaTek (“Third Party Importer”), MediaTek is liable for inducement of infringement

by the Third Party Importer. MediaTek has encouraged the Third Party Importer to infringe

the ’305 patent and intended that it do so. This encouragement includes at least ordering or

instructing the Third Party Importer to import the ’305 Accused Products and/or ’305 Third-



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Party Products into the United States, providing directions and other materials to the Third Party

Importer to enable such importation, and/or conditioning the receipt of benefits (included but not

limited to payment) to the Third Party Importer on such importation. On information and belief,

this behavior has continued since Defendant first became aware of the ’305 patent and the

infringement thereof.

       125.     On information and belief, to the extent any entity other than MediaTek, including

but not limited to any of MediaTek’s Foundry Partners, uses the patented method to fabricate or

manufacture the ’305 Accused Products and/or Imported ’305 Third-Party Products in the United

States for or on behalf of MediaTek (“Third Party Manufacturer”), MediaTek is liable

for inducement of infringement by the Third Party Manufacturer. MediaTek has encouraged the

Third Party Manufacturer to infringe the ’305 patent and intended that it do so. This

encouragement includes, without limitation, ordering the ’305 Accused Products from the Third

Party Manufacturer since Defendant first became aware of the ’305 patent and its infringement

by the Third Party Manufacturer.

       126.     MediaTek has benefitted and continues to benefit from the importation into the

United States of the ’305 Accused Products, ’305 Third Party Products, and Imported ’305 Third

Party Products.

       127.     Ocean Semiconductor has suffered, and continues to suffer, damages as a result of

MediaTek’s infringement of the ’305 patent.

       128.     MediaTek has continued to infringe the ’305 patent since at least October 15,

2020, despite being on notice of the ’305 patent and its infringement. MediaTek has therefore

infringed the ’305 patent knowingly, willfully, deliberately, and in disregard of Plaintiff’s patent

rights since at least October 15, 2020, at least by performing acts of infringement with actual



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knowledge of its direct and indirect infringement or while remaining willfully blind to the fact of

its direct and indirect infringement. As a result of at least this conduct, Plaintiff is entitled to

enhanced damages under 35 U.S.C. § 284 and to attorneys’ fees and costs under 35 U.S.C. § 285.

        129.     Ocean Semiconductor reserves the right to modify its infringement theories as

discovery progresses in this case. Ocean Semiconductor shall not be estopped or otherwise

limited or restricted for purposes of its infringement contentions or its claim constructions by the

claim charts that it provides with this Complaint. Ocean Semiconductor intends the claim chart

(Exhibit K) for the ’305 patent to satisfy the notice requirements of Rule 8(a)(2) of the Federal

Rule of Civil Procedure. The claim chart is not Ocean Semiconductor’s preliminary or final

infringement contentions or preliminary or final claim construction positions.


                    COUNT IV: INFRINGEMENT OF THE ʼ248 PATENT

        130.     Ocean Semiconductor repeats and re-alleges the allegations of the above

paragraphs as if fully set forth herein.

        131.     At least as of October 15, 2020, Ocean Semiconductor placed MediaTek on actual

notice of the ’248 patent and actual notice that its actions constituted and continued to constitute

infringement of the ’248 patent. MediaTek has had actual knowledge of the ’248 patent and its

own infringement of the ’248 patent since at least that time.

        132.     MediaTek has directly infringed and continues to infringe at least claim 1 of the

’248 patent literally or under the doctrine of equivalents, by importing into the United States,

and/or using, and/or selling, and/or offering for sale in the United States, without authority or

license, integrated circuits designed, developed, fabricated, and/or manufactured using the

Applied Materials SmartFactory system and/or other similar proprietary or third-party scheduling

and dispatching platform hardware and/or software (e.g., with similar technical and functional


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features), and systems, products, and/or devices containing these integrated circuits including at

least the MediaTek Scheduling Products (“’248 Accused Products”) in violation of 35 U.S.C. §

271. The ’248 Accused Products are manufactured by a process including all of the limitations

of at least claim 1 of the ’248 patent. Each such product includes an integrated circuit fabricated

or manufactured using, for example, the Applied Materials SmartFactory system.

       133.     Discovery is expected to uncover the full extent of MediaTek’s infringement of

the ’248 patent beyond the ’248 Accused Products already identified herein.

       134.     Specifically, on information and belief, MediaTek has directly infringed and

continues to infringe at least claim 1 of the ’248 patent literally or under the doctrine of

equivalents, by importing into the United States, and/or using, and/or selling, and/or offering for

sale in the United States, without authority or license, the ’248 Accused Products, in violation of

35 U.S.C. § 271(g). On information and belief, MediaTek imports the ’248 Accused Products

into the United States for sales and distribution to customers located in the United States. On

information and belief, MediaTek sells and/or offers for sale the ’248 Accused Products in the

United States. For example, MediaTek provides direct sales through its own sales channels

and/or its distributors or contract manufacturers and sells the ’248 Accused Products to

businesses including original equipment manufacturers and electronic manufacturing service

providers. On information and belief, these direct sales include sales of the ’248 Accused

Products in the United States. On information and belief, MediaTek offers the ’248 Accused

Products for sale in the United States. For example, MediaTek engages in sales, marketing, and

contracting activity in the United States and/or with United States offices of its customers.

       135.     The ’248 Accused Products are manufactured by a process including all of the

limitations of at least claim 1 of the ’248 patent. For example, during the manufacture of the



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’248 Accused Products (e.g., by the Applied Material SmartFactory system or similar systems

(e.g., with similar technical and functional features)), an occurrence of a predetermined event is

automatically detected in an integrated, automated process flow. A software scheduling agent is

automatically notified of the occurrence; and an action is reactively scheduled from the software

scheduling agent responsive to the detection of the predetermined event. An appointment is

proactively scheduled with which the predetermined event is associated, including proactively

scheduling the appointment from the software scheduling agent. On information and belief,

MediaTek, directly or through one of its Foundry Partners, contracted with Applied Materials to

use this process to design, develop, or manufacture the ʼ248 Accused Products.

       136.     Attached hereto as Exhibit L, and incorporated by reference herein, is a claim

chart detailing how each of the ’248 Accused Products is manufactured using the Applied

Materials SmartFactory system by a MediaTek Foundry Partner on behalf of MediaTek (e.g.,

UMC) that satisfies each element of at least claim 1 of the ’248 patent, literally or under the

doctrine of equivalents.

       137.     On information and belief, the ’248 Accused Products are neither materially

changed by subsequent processes nor become trivial and nonessential components of another

product.

       138.     On information and belief, since at least as of October 15, 2020, MediaTek has

induced and continues to induce others actively, knowingly, and intentionally, including its

suppliers and contract manufacturers, to infringe one or more claims of the ’248 patent,

including, but not limited to, claim 1, pursuant to 35 U.S.C. § 271(b), by actively encouraging

others to import into the United States, and/or make, use, sell, and/or offer to sell in the United

States, the ’248 Accused Products or products containing the infringing semiconductor



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components of the ’248 Accused Products, by actively inducing others to infringe the ’248 patent

by making, using, selling, offering for sale, marketing, advertising, and/or importing the Accused

Products to their customers for use in downstream products that infringe, or were manufactured

using processes that infringe, the ’248 patent, and by instructing others to infringe the ’248

patent.

          139.     For example, MediaTek actively promotes the sale, use, and importation of the

’248 Accused Products in marketing materials, technical specifications, data sheets, web pages

on its website (e.g., https://www.mediatek.com/), press releases, training tutorials, development

and design tools, user manuals, and developer forums as well as at trade shows (e.g., the

Consumer Technology Association’s Consumer Electronics Show (“CES”)) and MediaTek’s

online Discussion Forum and Expert’s Corner) and through its sales and distribution channels

that encourage infringing uses, sales, offers to sell, and importation of the ’248 Accused

Products. As another example, MediaTek’s representatives travel to customer sites in the United

States for sales and support activity that includes working with customers to facilitate these

customers’ infringing testing, marketing, importation, and sales activity. On information and

belief, MediaTek supplies customers with ’248 Accused Products so that they may be used, sold,

or offered for sale by those customers. For example, MediaTek provides direct sales to original

equipment manufacturers and electronic manufacturing service providers. On information and

belief, these direct sales include sales to customers in the United States. MediaTek also

promotes, publicly on its website, uses of the ’248 Accused Products by customers in the United

States. MediaTek additionally provides a wide range of technical support to customers and

businesses, including product-specific solutions and community forums.




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          140.     On information and belief, MediaTek sells or offers for sale the ’248 Accused

Products to third parties that incorporate the ’248 Accused Products into third party products

(“the ’248 Third Party Products”).

          141.     On information and belief, MediaTek assists third parties, directly and/or through

intermediaries, in the development and manufacture of the ’248 Third Party Products and

provides technical support and supports the sales of the ’248 Third Party Products.

          142.     On information and belief, since at least as of October 15, 2020, MediaTek has

induced and continues to induce third parties with specific intent or willful blindness to import,

make, use, sell, and/or offer to sell ’248 Third Party Products that include at least one ’248

Accused Product fabricated or manufactured using the Applied Materials SmartFactory system,

or similar systems (e.g., with similar technical and functional features), whose make, use, sale,

offer for sale, or importation constitutes direct infringement of at least one claim of the ’248

patent.

          143.     On information and belief, the ’248 Third Party Products are imported into the

United States for use, sale, and/or offer for sale in this District and throughout the United States

(“Imported ’248 Third Party Products”).

          144.     On information and belief, to the extent any entity other than MediaTek, including

but not limited to any of MediaTek’s Foundry Partners or third-party importers, imports the ’248

Accused Products and/or Imported ’248 Third-Party Products into the United States for or on

behalf of MediaTek (“Third Party Importer”), MediaTek is liable for inducement of infringement

by the Third Party Importer. MediaTek has encouraged the Third Party Importer to infringe

the ’248 patent and intended that it do so. This encouragement includes at least ordering or

instructing the Third Party Importer to import the ’248 Accused Products and/or ’248 Third-



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Party Products into the United States, providing directions and other materials to the Third Party

Importer to enable such importation, and/or conditioning the receipt of benefits (included but not

limited to payment) to the Third Party Importer on such importation. On information and belief,

this behavior has continued since Defendant first became aware of the ’248 patent and the

infringement thereof.

       145.     On information and belief, to the extent any entity other than MediaTek, including

but not limited to any of MediaTek’s Foundry Partners, uses the patented method to fabricate or

manufacture the ’248 Accused Products and/or Imported ’248 Third-Party Products in the United

States for or on behalf of MediaTek (“Third Party Manufacturer”), MediaTek is liable

for inducement of infringement by the Third Party Manufacturer. MediaTek has encouraged the

Third Party Manufacturer to infringe the ’248 patent and intended that it do so. This

encouragement includes, without limitation, ordering the ’248 Accused Products from the Third

Party Manufacturer since Defendant first became aware of the ’248 patent and its infringement

by the Third Party Manufacturer.

       146.     MediaTek has benefitted and continues to benefit from the importation into the

United States of the ’248 Accused Products, ’248 Third Party Products, and Imported ’248 Third

Party Products.

       147.     Ocean Semiconductor has suffered, and continues to suffer, damages as a result of

MediaTek’s infringement of the ’248 patent.

       148.     MediaTek has continued to infringe the ’248 patent since at least October 15,

2020, despite being on notice of the ’248 patent and its infringement. MediaTek has therefore

infringed the ’248 patent knowingly, willfully, deliberately, and in disregard of Plaintiff’s patent

rights since at least October 15, 2020, at least by performing acts of infringement with actual



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knowledge of its direct and indirect infringement or while remaining willfully blind to the fact of

its direct and indirect infringement. As a result of at least this conduct, Plaintiff is entitled to

enhanced damages under 35 U.S.C. § 284 and to attorneys’ fees and costs under 35 U.S.C. § 285.

        149.     Ocean Semiconductor reserves the right to modify its infringement theories as

discovery progresses in this case. Ocean Semiconductor shall not be estopped or otherwise

limited or restricted for purposes of its infringement contentions or its claim constructions by the

claim charts that it provides with this Complaint. Ocean Semiconductor intends the claim chart

(Exhibit L) for the ’248 patent to satisfy the notice requirements of Rule 8(a)(2) of the Federal

Rule of Civil Procedure. The claim chart is not Ocean Semiconductor’s preliminary or final

infringement contentions or preliminary or final claim construction positions.


                     COUNT V: INFRINGEMENT OF THE ʼ330 PATENT

        150.     Ocean Semiconductor repeats and re-alleges the allegations of the above

paragraphs as if fully set forth herein.

        151.     At least as of November 25, 2020, Ocean Semiconductor placed MediaTek on

actual notice of the ’330 patent and actual notice that its actions constituted and continued to

constitute infringement of the ’330 patent. MediaTek has had actual knowledge of the ’330

patent and its own infringement of the ’330 patent since at least that time.

        152.     MediaTek has directly infringed and continues to infringe at least claim 19 of the

’330 patent literally or under the doctrine of equivalents, by importing into the United States,

and/or using, and/or selling, and/or offering for sale in the United States, without authority or

license, integrated circuits that are designed, developed, fabricated, and/or manufactured using

the ASML YieldStar metrology and inspection system or platform and/or similar systems (e.g.,

with similar technical and functional features), and systems, products, and/or devices containing


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these integrated circuits including at least the MediaTek YieldStar Products (“ʼ330 Accused

Products”) in violation of 35 U.S.C. § 271. The ’330 Accused Products are manufactured by a

process including all of the limitations of at least claim 19 of the ’330 patent. Each such product

includes an integrated circuit fabricated or manufactured using, for example, the ASML

YieldStar metrology and inspection system or platform.

       153.     Discovery is expected to uncover the full extent of MediaTek’s infringement of

the ’330 patent beyond the ’330 Accused Products already identified herein.

       154.     On information and belief, MediaTek has directly infringed and continues to

infringe at least claim 19 of the ’330 patent literally or under the doctrine of equivalents, by

importing into the United States, and/or using, and/or selling, and/or offering for sale in the

United States, without authority or license, the ’330 Accused Products, in violation of 35 U.S.C.

§ 271(g). On information and belief, MediaTek imports the ’330 Accused Products into the

United States for sales and distribution to customers located in the United States. On

information and belief, MediaTek sells and/or offers for sale the ’330 Accused Products in the

United States. For example, MediaTek provides direct sales through its own sales channels

and/or its distributors or contract manufacturers and sells the ’330 Accused Products to

businesses including original equipment manufacturers and electronic manufacturing service

providers. On information and belief, these direct sales include sales of the ’330 Accused

Products in the United States. On information and belief, MediaTek offers the ’330 Accused

Products for sale in the United States. For example, MediaTek engages in sales, marketing, and

contracting activity in the United States and/or with United States offices of its customers.

       155.     The ’330 Accused Products are manufactured by a process including all of the

limitations of at least claim 19 of the ’330 patent. The ’330 Accused Products are made by a



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claimed method. Each is an integrated circuit fabricated or manufactured using, for example,

ASML’s YieldStar metrology and inspection system hardware and software.

       156.     For example, during the manufacture of the ’330 Accused Products, a plurality of

wafers undergoing the fabrication process is provided. The plurality of wafers are mapped into

one or more logical grids comprising one or more portions in which a grating structure for use in

concurrent measurements is formed. Concurrently, one or more critical dimensions and overlay

in a wafer undergoing the fabrication process are measured. It is determined if one or more of

the critical dimensions are outside of acceptable tolerances, and whether an overlay error is

occurring. Control data based upon one or more concurrent measurements is developed when at

least one of an overlay error is occurring and one or more of the critical dimensions fall outside

of acceptable tolerances. The control data is fed forward or backward to adjust one or more

fabrication components or one or more operating parameters associated with the fabrication

components when at least one of an overlay error is occurring and one or more of the critical

dimensions fall outside of acceptable tolerances to mitigate overlay error and/or to bring critical

dimension within acceptable tolerances. On information and belief, MediaTek, directly or

through one of its Foundry Partners (e.g., TSMC and/or UMC), contracted with ASML to use

this process to design, develop, or manufacture the ’330 Accused Products.

       157.     Attached hereto as Exhibit M, and incorporated by reference herein, is a claim

chart detailing how each of the ’330 Accused Products is manufactured using the ASML

YieldStar metrology and inspection system or platform by a MediaTek Foundry Partner on

behalf of MediaTek (e.g., TSMC and/or UMC) that satisfies each element of at least independent

claim 19 of the ’330 patent, literally or under the doctrine of equivalents.




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       158.     On information and belief, the ’330 Accused Products are neither materially

changed by subsequent processes nor become trivial and nonessential components of another

product.

       159.     On information and belief, at least as of November 25, 2020, MediaTek has

induced and continues to induce others, including its suppliers and contract manufacturers, to

infringe one or more claims of the ’330 patent, including, but not limited to, claim 19, pursuant

to 35 U.S.C. § 271(b), by actively encouraging others to import into the United States, and/or

make, use, sell, and/or offer to sell in the United States, the ’330 Accused Products or products

containing the infringing semiconductor components of the ’330 Accused Products, by actively

inducing others to infringe the ’330 patent by making, using, selling, offering for sale, marketing,

advertising, and/or importing the Accused Products to their customers for use in downstream

products that infringe, or were manufactured using processes that infringe, the ’330 patent, and

by instructing others to infringe the ’330 patent.

       160.     For example, MediaTek actively promotes the sale, use, and importation of the

’330 Accused Products in marketing materials, technical specifications, data sheets, web pages

on its website (e.g., https://www.mediatek.com/), press releases, training tutorials, development

and design tools, user manuals, and developer forums as well as at trade shows (e.g., the

Consumer Technology Association’s Consumer Electronics Show (“CES”)) and MediaTek’s

online Discussion Forum and Expert’s Corner) and through its sales and distribution channels

that encourage infringing uses, sales, offers to sell, and importation of the ’330 Accused

Products. As another example, MediaTek’s representatives travel to customer sites in the United

States for sales and support activity that includes working with customers to facilitate these

customers’ infringing testing, marketing, importation, and sales activity. On information and



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belief, MediaTek supplies customers with ’330 Accused Products so that they may be used, sold,

or offered for sale by those customers. For example, MediaTek provides direct sales to original

equipment manufacturers and electronic manufacturing service providers. On information and

belief, these direct sales include sales to customers in the United States. MediaTek also

promotes, publicly on its website, uses of the ’330 Accused Products by customers in the United

States. MediaTek additionally provides a wide range of technical support to customers and

businesses, including product-specific solutions and community forums.

       161.     On information and belief, MediaTek sells or offers for sale the ’330 Accused

Products to third parties that incorporate the ’330 Accused Products into third party products

(“the ’330 Third Party Products”).

       162.     On information and belief, MediaTek assists third parties, directly and/or through

intermediaries, in the development of the ’330 Third Party Products and provides technical

support and supports the sales of the ’330 Third Party Products.

       163.     On information and belief, at least as of November 25, 2020, MediaTek has

induced and continues to induce third parties with specific intent or willful blindness to import,

make, use, sell, and/or offer to sell ’330 Third Party Products that include at least one ’330

Accused Product fabricated or manufactured using the ASML YieldStar metrology and

inspection system or platform, or similar systems (e.g., with similar technical and functional

features), whose make, use, sale, offer for sale, or importation constitutes direct infringement of

at least one claim of the ’330 patent.

       164.     On information and belief, the ’330 Third Party Products are imported into the

United States for use, sale, and/or offer for sale in this District and throughout the United States

(“Imported ’330 Third Party Products”).



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       165.     On information and belief, to the extent any entity other than MediaTek, including

but not limited to any of MediaTek’s Foundry Partners or third-party importers, imports the ’330

Accused Products and/or Imported ’330 Third-Party Products into the United States for or on

behalf of MediaTek (“Third Party Importer”), MediaTek is liable for inducement of infringement

by the Third Party Importer. MediaTek has encouraged the Third Party Importer to infringe

the ’330 patent and intended that it do so. This encouragement includes at least ordering or

instructing the Third Party Importer to import the ’330 Accused Products and/or ’330 Third-

Party Products into the United States, providing directions and other materials to the Third Party

Importer to enable such importation, and/or conditioning the receipt of benefits (included but not

limited to payment) to the Third Party Importer on such importation. On information and belief,

this behavior has continued since Defendant first became aware of the ’330 patent and the

infringement thereof.

       166.     On information and belief, to the extent any entity other than MediaTek, including

but not limited to any of MediaTek’s Foundry Partners, uses the patented method to fabricate or

manufacture the ’330 Accused Products and/or Imported ’330 Third-Party Products in the United

States for or on behalf of MediaTek (“Third Party Manufacturer”), MediaTek is liable

for inducement of infringement by the Third Party Manufacturer. MediaTek has encouraged the

Third Party Manufacturer to infringe the ’330 patent and intended that it do so. This

encouragement includes, without limitation, ordering the ’330 Accused Products from the Third

Party Manufacturer since Defendant first became aware of the ’330 patent and its infringement

by the Third Party Manufacturer.




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        167.     MediaTek has benefitted and continues to benefit from the importation into the

United States of the ’330 Accused Products, ’330 Third Party Products, and Imported ’330 Third

Party Products.

        168.     Ocean Semiconductor has suffered, and continues to suffer, damages as a result of

MediaTek’s infringement of the ’330 patent.

        169.     MediaTek has continued to infringe the ’330 patent since at least November 25,

2020, despite being on notice of the ’330 patent and its infringement. MediaTek has therefore

infringed the ’330 patent knowingly, willfully, deliberately, and in disregard of Plaintiff’s patent

rights since at least November 25, 2020, at least by performing acts of infringement with actual

knowledge of its direct and indirect infringement or while remaining willfully blind to the fact of

its direct and indirect infringement. As a result of at least this conduct, Plaintiff is entitled to

enhanced damages under 35 U.S.C. § 284 and to attorneys’ fees and costs under 35 U.S.C. § 285.

        170.     Ocean Semiconductor reserves the right to modify its infringement theories as

discovery progresses in this case. Ocean Semiconductor shall not be estopped or otherwise

limited or restricted for purposes of its infringement contentions or its claim constructions by the

claim charts that it provides with this Complaint. Ocean Semiconductor intends for the claim

chart (Exhibit M) for the ’330 patent to satisfy the notice requirements of Rule 8(a)(2) of the

Federal Rule of Civil Procedure. The claim chart is not Ocean Semiconductor’s preliminary or

final infringement contentions or preliminary or final claim construction positions.


                    COUNT VI: INFRINGEMENT OF THE ʼ691 PATENT

        171.     Ocean Semiconductor repeats and re-alleges the allegations of the above

paragraphs as if fully set forth herein.




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       172.     At least as of November 25, 2020, Ocean Semiconductor placed MediaTek on

actual notice of the ’691 patent and actual notice that its actions constituted and continued to

constitute infringement of the ’691 patent. MediaTek has had actual knowledge of the ’691

patent and its own infringement of the ’691 patent since at least that time.

       173.     MediaTek has directly infringed and continues to infringe at least claim 1 of the

’691 patent literally or under the doctrine of equivalents, by importing into the United States,

and/or using, and/or selling, and/or offering for sale in the United States, without authority or

license, integrated circuits designed, developed, fabricated, and/or manufactured using Applied

Materials’ E3 system, PDF Solutions’ Exensio system, and/or similar systems (e.g., with similar

technical and functional features), and systems, products, and/or devices containing these

integrated circuits including at least the MediaTek APC Products (“’691 Accused Products”) in

violation of 35 U.S.C. § 271. The ’691 Accused Products are manufactured by a process

including all of the limitations of at least claim 1 of the ’691 patent. Each such product includes

an integrated circuit fabricated or manufactured using, for example, Applied Materials’ E3

system and/or PDF Solutions’ Exensio system.

       174.     Discovery is expected to uncover the full extent of MediaTek’s infringement of

the ’691 patent beyond the ’691 Accused Products already identified herein.

       175.     On information and belief, MediaTek has directly infringed and continues to

infringe at least claim 1 of the ’691 patent literally or under the doctrine of equivalents, by

importing into the United States, and/or using, and/or selling, and/or offering for sale in the

United States, without authority or license, the ’691 Accused Products, in violation of 35 U.S.C.

§ 271(g). On information and belief, MediaTek imports the ’691 Accused Products into the

United States for sales and distribution to customers located in the United States. On



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information and belief, MediaTek sells and/or offers for sale the ’691 Accused Products in the

United States. For example, MediaTek provides direct sales through its own sales channels

and/or its distributors or contract manufacturers and sells the ’691 Accused Products to

businesses including original equipment manufacturers and electronic manufacturing service

providers. On information and belief, these direct sales include sales of the ’691 Accused

Products in the United States. On information and belief, MediaTek offers the ’691 Accused

Products for sale in the United States. For example, MediaTek engages in sales, marketing, and

contracting activity in the United States and/or with United States offices of its customers.

       176.     The ’691 Accused Products are manufactured by a process including all of the

limitations of at least claim 1 of the ’691 patent. The ’691 Accused Products are made by a

claimed method. Each is an integrated circuit fabricated or manufactured using, for example,

Applied Materials’ E3 system and/or PDF Solutions’ Exensio system. For example, during the

manufacture of the ’691 Accused Products (e.g., by Applied Materials’ E3 system and/or PDF

Solutions’ Exensio system and/or similar systems (e.g., with similar technical and functional

features)), metrology data related to the processing of workpieces in a plurality of tools is

collected. Context data for the metrology data, including collection purpose data, is collected.

The metrology data is filtered based on the collection purpose data. A process control activity

related to one of the tools is conducted based on the filtered metrology data. On information and

belief, MediaTek, directly or through one of its Foundry Partners, contracted with Applied

Materials and/or PDF Solutions to use this process to design, develop, or manufacture the ’691

Accused Products.

       177.     Attached hereto as Exhibits N and O, and incorporated by reference herein, are

claim charts detailing how each of the ’691 Accused Products manufactured using the Applied



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Materials E3 system and/or PDF Solutions’ Exensio system by a MediaTek Foundry Partner on

behalf of MediaTek (e.g., TSMC and/or UMC) satisfies each element of at least claim 1 of the

’691 patent, literally or under the doctrine of equivalents.

       178.     On information and belief, the ’691 Accused Products are neither materially

changed by subsequent processes nor become trivial and nonessential components of another

product.

       179.     On information and belief, at least as of November 25, 2020, MediaTek has

induced and continues to induce others, including its suppliers and contract manufacturers, to

infringe one or more claims of the ’691 patent, including, but not limited to, claim 1, pursuant to

35 U.S.C. § 271(b), by actively encouraging others to import into the United States, and/or make,

use, sell, and/or offer to sell in the United States, the ’691 Accused Products or products

containing the infringing semiconductor components of the ’691 Accused Products, by actively

inducing others to infringe the ’691 patent by making, using, selling, offering for sale, marketing,

advertising, and/or importing the Accused Products to their customers for use in downstream

products that infringe, or were manufactured using processes that infringe, the ’691 patent, and

by instructing others to infringe the ’691 patent.

       180.     For example, MediaTek actively promotes the sale, use, and importation of the

’691 Accused Products in marketing materials, technical specifications, data sheets, web pages

on its website (e.g., https://www.mediatek.com/), press releases, training tutorials, development

and design tools, user manuals, and developer forums as well as at trade shows (e.g., the

Consumer Technology Association’s Consumer Electronics Show (“CES”)) and MediaTek’s

online Discussion Forum and Expert’s Corner) and through its sales and distribution channels

that encourage infringing uses, sales, offers to sell, and importation of the ’691 Accused



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Products. As another example, MediaTek’s representatives travel to customer sites in the United

States for sales and support activity that includes working with customers to facilitate these

customers’ infringing testing, marketing, importation, and sales activity. On information and

belief, MediaTek supplies customers with ’691 Accused Products so that they may be used, sold,

or offered for sale by those customers. For example, MediaTek provides direct sales to original

equipment manufacturers and electronic manufacturing service providers. On information and

belief, these direct sales include sales to customers in the United States. MediaTek also

promotes, publicly on its website, uses of the ’691 Accused Products by customers in the United

States. MediaTek additionally provides a wide range of technical support to customers and

businesses, including product-specific solutions and community forums.

       181.     On information and belief, MediaTek sells or offers for sale the ’691 Accused

Products to third parties that incorporate the ’691 Accused Products into third party products

(“the ’691 Third Party Products”).

       182.     On information and belief, MediaTek assists third parties, directly and/or through

intermediaries, in the development and manufacture of the ’691 Third Party Products and

provides technical support and supports the sales of the ’691 Third Party Products.

       183.     On information and belief, at least as of November 25, 2020, MediaTek also has

induced and continues to induce third parties with specific intent or willful blindness to import,

make, use, sell, and/or offer to sell ’691 Third Party Products that include at least one ’691

Accused Product fabricated or manufactured using the Applied Materials E3 system and/or PDF

Solutions’ Exensio system and/or similar systems (e.g., with similar technical and functional

features) whose make, use, sale, offer for sale, or importation constitutes direct infringement of

at least one claim of the ’691 patent.



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       184.     On information and belief, the ’691 Third Party Products are imported into the

United States for use, sale, and/or offer for sale in this District and throughout the United States

(“Imported ’691 Third Party Products”).

       185.     On information and belief, to the extent any entity other than MediaTek, including

but not limited to any of MediaTek’s Foundry Partners or third-party importers, imports the ’691

Accused Products and/or Imported ’691 Third-Party Products into the United States for or on

behalf of MediaTek (“Third Party Importer”), MediaTek is liable for inducement of infringement

by the Third Party Importer. MediaTek has encouraged the Third Party Importer to infringe

the ’691 patent and intended that it do so. This encouragement includes at least ordering or

instructing the Third Party Importer to import the ’691 Accused Products and/or ’691 Third-

Party Products into the United States, providing directions and other materials to the Third Party

Importer to enable such importation, and/or conditioning the receipt of benefits (included but not

limited to payment) to the Third Party Importer on such importation. On information and belief,

this behavior has continued since Defendant first became aware of the ’691 patent and the

infringement thereof.

       186.     On information and belief, to the extent any entity other than MediaTek, including

but not limited to any of MediaTek’s Foundry Partners, uses the patented method to fabricate or

manufacture the ’691 Accused Products and/or Imported ’691 Third-Party Products in the United

States for or on behalf of MediaTek (“Third Party Manufacturer”), MediaTek is liable

for inducement of infringement by the Third Party Manufacturer. MediaTek has encouraged the

Third Party Manufacturer to infringe the ’691 patent and intended that it do so. This

encouragement includes, without limitation, ordering the ’691 Accused Products from the Third




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Party Manufacturer since Defendant first became aware of the ’691 patent and its infringement

by the Third Party Manufacturer.

        187.     MediaTek has benefitted and continues to benefit from the importation into the

United States of the Imported ’691 Third Party Products.

        188.     Ocean Semiconductor has suffered, and continues to suffer, damages as a result of

MediaTek’s infringement of the ’691 patent.

        189.     MediaTek has continued to infringe the ’691 patent since at least November 25,

2020, despite being on notice of the ’691 patent and its infringement. MediaTek has therefore

infringed the ’691 patent knowingly, willfully, deliberately, and in disregard of Plaintiff’s patent

rights since at least November 25, 2020, at least by performing acts of infringement with actual

knowledge of its direct and indirect infringement or while remaining willfully blind to the fact of

its direct and indirect infringement. As a result of at least this conduct, Plaintiff is entitled to

enhanced damages under 35 U.S.C. § 284 and to attorneys’ fees and costs under 35 U.S.C. § 285.

        190.     Ocean Semiconductor reserves the right to modify its infringement theories as

discovery progresses in this case. Ocean Semiconductor shall not be estopped or otherwise

limited or restricted for purposes of its infringement contentions or its claim constructions by the

claim charts that it provides with this Complaint. Ocean Semiconductor intends the claim chart

(Exhibits N and O) for the ’691 patent to satisfy the notice requirements of Rule 8(a)(2) of the

Federal Rule of Civil Procedure. The claim chart is not Ocean Semiconductor’s preliminary or

final infringement contentions or preliminary or final claim construction positions.


                    COUNT VII: INFRINGEMENT OF THE ʼ538 PATENT

        191.     Ocean Semiconductor repeats and re-alleges the allegations of the above

paragraphs as if fully set forth herein.


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       192.     At least as of November 25, 2020, Ocean Semiconductor placed MediaTek on

actual notice of the ’538 patent and actual notice that its actions constituted and continued to

constitute infringement of the ’538 patent. MediaTek has had actual knowledge of the ’538

patent and its own infringement of the ’538 patent since at least that time.

       193.     MediaTek has directly infringed and continues to infringe at least claim 1 of the

’538 patent literally or under the doctrine of equivalents, by importing into the United States,

and/or using, and/or selling, and/or offering for sale in the United States, without authority or

license, integrated circuits designed, developed, fabricated, and/or manufactured using Applied

Materials’ E3 system and/or PDF Solutions’ Exensio system and/or similar systems (e.g., with

similar technical and functional features), and systems, products, and/or devices containing these

integrated circuits including at least the MediaTek APC Products (“’538 Accused Products”) in

violation of 35 U.S.C. § 271. The ’538 Accused Products are manufactured by a process

including all of the limitations of at least claim 1 of the ’538 patent. Each such product includes

an integrated circuit fabricated or manufactured using, for example, Applied Materials’ E3

system and/or PDF Solutions’ Exensio system.

       194.     Discovery is expected to uncover the full extent of MediaTek’s infringement of

the ’538 patent beyond the ’538 Accused Products already identified herein.

       195.     On information and belief, MediaTek has directly infringed and continues to

infringe at least claim 1 of the ’538 patent literally or under the doctrine of equivalents, by

importing into the United States, and/or using, and/or selling, and/or offering for sale in the

United States, without authority or license, the ’538 Accused Products, in violation of 35 U.S.C.

§ 271(g). On information and belief, MediaTek imports the ’538 Accused Products into the

United States for sales and distribution to customers located in the United States. On



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information and belief, MediaTek sells and/or offers for sale the ’538 Accused Products in the

United States. For example, MediaTek provides direct sales through its own sales channels

and/or its distributors or contract manufacturers and sells the ’538 Accused Products to

businesses including original equipment manufacturers and electronic manufacturing service

providers. On information and belief, these direct sales include sales of the ’538 Accused

Products in the United States. On information and belief, MediaTek offers the ’538 Accused

Products for sale in the United States. For example, MediaTek engages in sales, marketing, and

contracting activity in the United States and/or with United States offices of its customers.

       196.     The ’538 Accused Products are manufactured by a process including all of the

limitations of at least claim 1 of the ’538 patent. The ’538 Accused Products are made by a

claimed method. Each is an integrated circuit fabricated or manufactured using, for example,

Applied Materials’ E3 system and/or PDF Solutions’ Exensio system. For example, during the

manufacture of the ’538 Accused Products (e.g., by Applied Materials’ E3 system and/or PDF

Solutions’ Exensio system (e.g., with similar technical and functional features)), a computer a

fault detection analysis relating to processing of a workpiece is performed. A relationship of a

parameter relating to said fault detection analysis to a detected fault is determined in the

computer. A weighting of said parameter based upon said relationship of said parameter to said

detected fault is adjusted in said computer. The fault detection analysis relating to processing of

a subsequent workpiece using said adjusted weighting is performed in said computer. On

information and belief, MediaTek, directly or through one of its Foundry Partners, contracted

with Applied Materials and/or PDF Solutions to use this process to design, develop, or

manufacture the ’538 Accused Products.




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       197.     Attached hereto as Exhibits P and Q, and incorporated by reference herein, are

claim charts detailing how each of the ’538 Accused Products manufactured using the Applied

Materials E3 system and/or PDF Solutions’ Exensio system by a MediaTek Foundry Partner on

behalf of MediaTek (e.g., TSMC and/or UMC) satisfies each element of at least claim 1 of the

’538 patent, literally or under the doctrine of equivalents.

       198.     On information and belief, the ’538 Accused Products are neither materially

changed by subsequent processes nor become trivial and nonessential components of another

product.

       199.     On information and belief, at least as of November 25, 2020, MediaTek has

induced and continues to induce others, including its suppliers and contract manufacturers, to

infringe one or more claims of the ’538 patent, including, but not limited to, claim 1, pursuant to

35 U.S.C. § 271(b), by actively encouraging others to import into the United States, and/or make,

use, sell, and/or offer to sell in the United States, the ’538 Accused Products or products

containing the infringing semiconductor components of the ’538 Accused Products, by actively

inducing others to infringe the ’538 patent by making, using, selling, offering for sale, marketing,

advertising, and/or importing the Accused Products to their customers for use in downstream

products that infringe, or were manufactured using processes that infringe, the ’538 patent, and

by instructing others to infringe the ’538 patent.

       200.     For example, MediaTek actively promotes the sale, use, and importation of the

’538 Accused Products in marketing materials, technical specifications, data sheets, web pages

on its website (e.g., https://www.mediatek.com/), press releases, training tutorials, development

and design tools, user manuals, and developer forums as well as at trade shows (e.g., the

Consumer Technology Association’s Consumer Electronics Show (“CES”)) and MediaTek’s



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online Discussion Forum and Expert’s Corner) and through its sales and distribution channels

that encourage infringing uses, sales, offers to sell, and importation of the ’538 Accused

Products. As another example, MediaTek’s representatives travel to customer sites in the United

States for sales and support activity that includes working with customers to facilitate these

customers’ infringing testing, marketing, importation, and sales activity. On information and

belief, MediaTek supplies customers with ’538 Accused Products so that they may be used, sold,

or offered for sale by those customers. For example, MediaTek provides direct sales to original

equipment manufacturers and electronic manufacturing service providers. On information and

belief, these direct sales include sales to customers in the United States. MediaTek also

promotes, publicly on its website, uses of the ’538 Accused Products by customers in the United

States. MediaTek additionally provides a wide range of technical support to customers and

businesses, including product-specific solutions and community forums.

       201.     On information and belief, MediaTek sells or offers for sale the ’538 Accused

Products to third parties that incorporate the ’538 Accused Products into third party products

(“the ’538 Third Party Products”).

       202.     On information and belief, MediaTek assists third parties, directly and/or through

intermediaries, in the development and manufacture of the ’538 Third Party Products and

provides technical support and supports the sales of the ’538 Third Party Products.

       203.     On information and belief, at least as of November 25, 2020, MediaTek also has

induced and continues to induce third parties with specific intent or willful blindness to import,

make, use, sell, and/or offer to sell ’538 Third Party Products that include at least one ’538

Accused Product fabricated or manufactured using the Applied Materials E3 system and/or PDF

Solutions’ Exensio system and/or similar systems (e.g., with similar technical and functional



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features) whose make, use, sale, offer for sale, or importation constitutes direct infringement of

at least one claim of the ’538 patent.

       204.     On information and belief, the ’538 Third Party Products are imported into the

United States for use, sale, and/or offer for sale in this District and throughout the United States

(“Imported ’538 Third Party Products”).

       205.     On information and belief, to the extent any entity other than MediaTek, including

but not limited to any of MediaTek’s Foundry Partners or third-party importers, imports the ’538

Accused Products and/or Imported ’538 Third-Party Products into the United States for or on

behalf of MediaTek (“Third Party Importer”), MediaTek is liable for inducement of infringement

by the Third Party Importer. MediaTek has encouraged the Third Party Importer to infringe

the ’538 patent and intended that it do so. This encouragement includes at least ordering or

instructing the Third Party Importer to import the ’538 Accused Products and/or ’538 Third-

Party Products into the United States, providing directions and other materials to the Third Party

Importer to enable such importation, and/or conditioning the receipt of benefits (included but not

limited to payment) to the Third Party Importer on such importation. On information and belief,

this behavior has continued since Defendant first became aware of the ’538 patent and the

infringement thereof.

       206.     On information and belief, to the extent any entity other than MediaTek, including

but not limited to any of MediaTek’s Foundry Partners, uses the patented method to fabricate or

manufacture the ’538 Accused Products and/or Imported ’538 Third-Party Products in the United

States for or on behalf of MediaTek (“Third Party Manufacturer”), MediaTek is liable

for inducement of infringement by the Third Party Manufacturer. MediaTek has encouraged the

Third Party Manufacturer to infringe the ’538 patent and intended that it do so. This



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encouragement includes, without limitation, ordering the ’538 Accused Products from the Third

Party Manufacturer since Defendant first became aware of the ’538 patent and its infringement

by the Third Party Manufacturer.

        207.     MediaTek has benefitted and continues to benefit from the importation into the

United States of the Imported ’538 Third Party Products.

        208.     Ocean Semiconductor has suffered, and continues to suffer, damages as a result of

MediaTek’s infringement of the ’538 patent.

        209.     MediaTek has continued to infringe the ’538 patent since at least November 25,

2020, despite being on notice of the ’538 patent and its infringement. MediaTek has therefore

infringed the ’538 patent knowingly, willfully, deliberately, and in disregard of Plaintiff’s patent

rights since at least November 25, 2020, at least by performing acts of infringement with actual

knowledge of its direct and indirect infringement or while remaining willfully blind to the fact of

its direct and indirect infringement. As a result of at least this conduct, Plaintiff is entitled to

enhanced damages under 35 U.S.C. § 284 and to attorneys’ fees and costs under 35 U.S.C. § 285.

        210.     Ocean Semiconductor reserves the right to modify its infringement theories as

discovery progresses in this case. Ocean Semiconductor shall not be estopped or otherwise

limited or restricted for purposes of its infringement contentions or its claim constructions by the

claim charts that it provides with this Complaint. Ocean Semiconductor intends the claim chart

(Exhibits P and Q) for the ’538 patent to satisfy the notice requirements of Rule 8(a)(2) of the

Federal Rule of Civil Procedure. The claim chart is not Ocean Semiconductor’s preliminary or

final infringement contentions or preliminary or final claim construction positions.




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                                    RELIEF REQUESTED

       WHEREFORE, Ocean Semiconductor demands judgment for itself and against

MediaTek as follows:

        A.     A judgment that Defendant MediaTek has infringed, and continues to infringe,

one or more claims of each of the Asserted Patents;

        B.     A judgment that Defendant MediaTek has induced infringement, and continues to

induce infringement, of one or more claims of each of the Asserted Patents;

        C.     A judgment that Defendant MediaTek has contributed to, and continues to

contribute to, the infringement of one or more claims of each of the Asserted Patents;

        D.     A judgment awarding Ocean Semiconductor damages to be paid by Defendant

MediaTek in an amount to be proven at trial adequate to compensate Ocean Semiconductor for

MediaTek’ past infringement and any continuing or future infringement through the date such

judgment is entered, but in no event less than a reasonable royalty for MediaTek’s infringement;

        E.     A judgment awarding Ocean Semiconductor treble damages pursuant to 35

U.S.C. § 284 as a result of Defendant MediaTek’s willfulness;

        F.     A judgment and order finding that this case is exceptional and awarding Ocean

Semiconductor its reasonable attorneys’ fees to be paid by Defendant MediaTek as provided by

35 U.S.C. § 285;

        G.     A judgment awarding expenses, costs, and disbursements in this action against

Defendant MediaTek, including pre-judgment and post-judgment interest; and

        H.     A judgment awarding Ocean Semiconductor such other relief as the Court may

deem just and equitable.




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                                        JURY DEMAND

        Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiff hereby demands a trial by jury

on all issues so triable.


Dated: December 31, 2020                             Respectfully submitted,

                                               By: /s/ Alex Chan
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                                                     Ocean Semiconductor LLC




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